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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                                    )
 US DOMINION, INC., DOMINION                        )
 VOTING SYSTEMS, INC., and                          )
 DOMINION VOTING SYSTEMS                            )
 CORPORATION                                        )
 c/o Cogency Global                                 )
 1025 Vermont Ave, NW, Ste. 1130                    )
 Washington, DC 20005,                              )
                                                    )
        Plaintiffs,                                 )
                                                    )
            v.                                      )   Case No.
                                                    )
 MY PILLOW, INC. and                                )
 MICHAEL J. LINDELL                                 )
 343 E 82nd Str #102                                )
 Chaska, MN 55318,                                  )
                                                    )
        Defendants.                                 )
                                                    )

                      COMPLAINT AND DEMAND FOR JURY TRIAL

       1.        After hitting the jackpot with Donald Trump’s endorsement for MyPillow and after

a million-dollar bet on Fox News ads had paid out handsome returns, Michael Lindell exploited

another chance to boost sales: marketing MyPillow to people who would tune in and attend rallies

to hear Lindell tell the “Big Lie” that Dominion had stolen the 2020 election. As when MyPillow

previously faced legal action for deceptive marketing campaigns, Lindell knew there was no real

“evidence” supporting his claims. And he is well aware of the independent audits and paper ballot

recounts conclusively disproving the Big Lie. But Lindell—a talented salesman and former

professional card counter—sells the lie to this day because the lie sells pillows. MyPillow’s

defamatory marketing campaign—with promo codes like “FightforTrump,” “45,” “Proof,” and

“QAnon”—has increased MyPillow sales by 30-40% and continues duping people into redirecting

their election-lie outrage into pillow purchases.


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       2.      Bipartisan election officials, judges, 59 election security experts, Attorney General

Bill Barr, Trump appointee Chris Krebs, Georgia’s Republican Governor Brian Kemp, Georgia’s

Republican Secretary of State Brad Raffensperger, Colorado’s former Republican Secretary of

State Wayne Williams, and others have rebutted Lindell’s false claims about Dominion.1

       3.      Most importantly though, paper ballots are the hard evidence conclusively

disproving Lindell’s claims. If the vote tallies in Dominion machines had been manipulated, the

machine tallies would not match the number of votes on the paper ballots. In fact, they do match,

as independent audits and hand recounts have repeatedly proven. The contrary “evidence” put

forward by Lindell’s allies—including Sidney Powell, L. Lin Wood, and others—was deliberately

misrepresented, manufactured, cherry-picked, and sourced from con artists and conspiracy

theorists who were judicially determined to be “wholly unreliable.” Lindell knows all of this

because Dominion wrote to him multiple times, put him on formal written notice of the facts, and

told him that Dominion employees were receiving death threats because of the lies.

       4.      Instead of retracting his lies, Lindell—a multimillionaire with a nearly unlimited

ability to broadcast his preferred messages on conservative media—whined that he was being

“censored” and “attacked” and produced a “docu-movie” featuring shady characters and fake

documents sourced from dark corners of the internet.

       5.      Through discovery, Dominion will prove that there is no real evidence supporting

the Big Lie. Dominion brings this action to vindicate the company’s rights, to recover damages,

to seek a narrowly tailored injunction, to stand up for itself and its employees, and to stop Lindell

and MyPillow from further profiting at Dominion’s expense.




1
 “Dominion” refers to Plaintiffs, US Dominion, Inc. and its subsidiaries, Dominion Voting
Systems, Inc., and Dominion Voting Systems Corporation.


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                                            PARTIES

       6.      Plaintiff US Dominion, Inc. is a for-profit Delaware corporation with its principal

place of business in Denver, Colorado.

       7.      Plaintiff Dominion Voting Systems, Inc. is a for-profit Delaware corporation with

its principal place of business in Denver, Colorado.

       8.      Plaintiff Dominion Voting Systems Corporation is a for-profit Ontario corporation

with its principal place of business in Toronto, Ontario.

       9.      Defendant My Pillow, Inc. (“MyPillow”) is a for-profit Minnesota corporation with

its principal place of business in Chaska, Minnesota.

       10.     Defendant Michael J. Lindell is the founder and CEO of MyPillow. Lindell is a

resident of Minnesota. At all relevant times during the defamatory marketing campaign at issue

in this case, Lindell was acting as MyPillow’s agent.

                                JURISDICTION AND VENUE

       11.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332 because

there is complete diversity of citizenship between Plaintiffs and Defendants, and the amount in

controversy exceeds $75,000.00, exclusive of interest and costs.

       12.     This Court has personal jurisdiction over all Defendants pursuant to § 13-423 of

the District of Columbia Code because Lindell, who at all relevant times during the defamatory

marketing campaign at issue in this case acted as an agent for MyPillow: (i) transacted business

within the District of Columbia, including by sponsoring and marketing MyPillow at rallies in

Washington, D.C. on December 12, 2020, January 5, 2021, and January 6, 2021; by regularly

advertising MyPillow at these events and through internet, television, and radio ads directed at

residents of the District of Columbia; and by selling MyPillow products to residents of the District

of Columbia; (ii) caused tortious injury by acts committed within the District of Columbia,


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including and specifically by making false and defamatory statements about Dominion at rallies

in Washington, D.C. on December 12, 2020 and January 5, 2021, and during media appearances

from within the District of Columbia; and (iii) caused tortious injury by acts committed outside

the District of Columbia while regularly doing business within, engaging in persistent conduct

within, and deriving substantial revenue from services rendered within the District of Columbia.

       13.     Requiring Defendants to litigate these claims in the District of Columbia does not

offend traditional notions of fair play and substantial justice and is permitted by the Due Process

Clause of the United States Constitution. Dominion’s claims arise in part from defamatory

statements that Lindell, while acting as an agent for MyPillow, made about Dominion from within

the District of Columbia. Defendants avail themselves of numerous privileges in the District of

Columbia, including those set forth above.

       14.     Venue is proper in this Court under 28 U.S.C. § 1391(b) because a substantial part

of the events giving rise to the claims in this Complaint occurred in this District and, as discussed

above, because Defendants are subject to the Court’s personal jurisdiction in this District.

                                  FACTUAL ALLEGATIONS

     Through Aggressive Marketing, Mike Lindell Builds a Multimillion-Dollar Company

       15.     In 2004, Lindell founded the MyPillow company, which he later incorporated as

My Pillow, Inc. A talented salesman, Lindell personally starred in MyPillow infomercials, which

claimed that MyPillow would help people suffering from fibromyalgia, insomnia, migraines and

headaches, sleep apnea, snoring, TMJ, and restless leg syndrome—claims that prosecutors alleged




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were “untrue or misleading.”2 Rather than defending the truthfulness of MyPillow’s claims in

court, Lindell opted to pay $995,000 in civil penalties.3

       16.     Three years later, MyPillow found itself in legal trouble for “disseminating false

and misleading advertisements.”4 Rather than defending the truthfulness of MyPillow’s claims,

Lindell opted to pay $100,000 in civil penalties.5

       17.     In 2016, consumers filed a class action lawsuit alleging that MyPillow’s

infomercials targeted people with sleep-related ailments and falsely held out Lindell as a “sleep

expert” even though he has no expertise in sleep science or medicine.6 Again, rather than

defending the truthfulness of his company’s claims, Lindell paid to make the case go away.7

Similarly, the Better Business Bureau revoked the accreditation of MyPillow and lowered its rating

to an “F” based on a pattern of complaints by consumers.8




2
  See Complaint, California v. My Pillow, Inc., No. HG16836619 (Ca. Super. Ct., Alameda Cty.
Oct. 26, 2016).
3
  See Final Judgment, California v. My Pillow, Inc., No. HG16836619 (Ca. Super. Ct., Alameda
Cty. Oct. 31, 2016); see also MyPillow Fined $1M for Phony Ads, NBC L.A. (Nov. 4, 2016),
available at, https://www.nbclosangeles.com/news/national-international/mypillow-fined-1-
million-for-phony-ads/106508/.
4
  See Complaint, California v. My Pillow, Inc., No. RG 19037519 (Ca. Super. Ct., Alameda Cty.
Oct. 2, 2019).
5
  See Final Judgment, California v. My Pillow, Inc., No. RG 19037519 (Ca. Super. Ct., Alameda
County Oct. 23, 2019).
6
  See Complaint, Amiri v. MyPillow, Inc., No. DS1606479 (Ca Super. Ct. San Bernardino Cty.
Apr. 25, 2016).
7
  See Amended Settlement Agreement and Release, Amiri v. MyPillow, Inc., No. DS1606479 (Ca
Super. Ct. San Bernardino Cty. Aug. 8, 2016).
8
  My Pillow, Better Business Bureau, available at,
https://www.bbb.org/us/mn/chaska/profile/pillows/my-pillow-inc-0704-96152336 (Ex. 228).
Exhibit numbers referenced within are either used in or consecutively numbered with related
cases, Dominion v. Powell, No. 21-cv-00040 (D.D.C. Jan. 8, 2021) and Dominion v. Giuliani,
No. 21-cv-00213 (D.D.C. Jan. 25, 2021).


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             Lindell Scores a Valuable Product Endorsement from Donald Trump
                   and Advertises Heavily on Conservative Media Platforms

       18.    Despite MyPillow’s history of run-ins with the law, the company became

successful and its revenue exceeded $300 million in 2019 alone.9

       19.    In large part, MyPillow’s success is due to a gamble Lindell made on Fox News

years ago.10 Lindell went all in and spent his last $2 million buying airtime for MyPillow ads on

Fox News.11 The bet paid off, yielding $8.19 million in returns.12 In the first three quarters of

2020, MyPillow spent more than $62 million on television ads, with nearly 99% of it going to

cable channels like Fox News.13 In the first half of 2020, MyPillow ads made up about 37.8% of

the advertising revenue for Tucker Carlson’s show and 15% of the advertising revenue for

Sean Hannity’s show—making MyPillow one of Fox’s biggest sponsors.14

       20.    As Tucker Carlson has stated on his show on Fox News: “If you have been watching

this channel at all even for a moment you will recognize this man – probably the most famous face

on Fox News, Mike Lindell, he created a product that you are familiar if you watch television or

if you sleep at night. Mike, I cannot resist asking you for the famous words of yours that we’ll




9
  Sapna Maheshwari & Tiffany Hsu, MyPillow C.E.O’s Trump Conspiracy Theories Put
Company on the Spot, N.Y. Times (Feb. 5, 2021), available at,
https://www.nytimes.com/2021/01/27/business/mike-lindell-mypillow.html (Ex. 230).
10
   Mike Lindell, What are the Odds? 351-54 (2019).
11
   Id.
12
   Id.
13
   Tiffany Hsu, As Corporate America Flees Trump, MyPillow’s C.E.O. Stands by Him, N.Y.
Times (Jan. 12, 2021), available at, https://www.nytimes.com/2021/01/12/business/media/mypill
ow-mike-lindell-trump.html (Ex. 231).
14
   Haley Victory Smith, Thirty-eight percent of Tucker Carlson’s advertising came from
MyPillow in 2020, data firm estimates, Wash. Examiner (July 7, 2020), available at,
https://www.washingtonexaminer.com/news/thirty-eight-percent-of-tucker-carlsons-advertising-
came-from-mypillow-in-2020-data-firm-estimates (Ex. 232).


                                               6
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remember.” After Lindell responded by plugging “MyPillow,” Carlson gushed that it is “the most

successful sleep product in the history of sleep.”15

       21.     MyPillow also advertises heavily on Newsmax, where it has spent tens of thousands

of ad dollars in one week alone.16

       22.     In addition to MyPillow’s advertising on Fox News, Newsmax, and other

conservative networks, Lindell’s vocal support for Donald Trump over the years has been “very

good for business.”17 In July 2017, Lindell sat right next to Trump at a White House event and

got “about the most valuable endorsement an American can possibly get.”18 President Trump,

with a MyPillow an arm-length away, endorsed MyPillow on national television, saying, “I

actually bought a couple of pillows and they’re very good. They’re great. I’ve slept so much

better ever since.”19 Lindell has repeatedly touted the endorsement, including during a purported

interview on a Fox Business program.20



15
   Tucker Carlson Hosts MyPillow Guy, One of His Few Remaining Advertisers, For Fawning
Interview, YouTube (Dec. 22, 2020), available at,
https://www.youtube.com/watch?v=xXlx1Uz4Ujs&feature=youtu.be (Ex. 233).
16
   Tiffany Hsu, As Corporate America Flees Trump, MyPillow’s C.E.O. Stands by Him, N.Y.
Times (Jan. 12, 2021), available at, https://www.nytimes.com/2021/01/12/business/media/mypill
ow-mike-lindell-trump.html (Ex. 231).
17
   Betsy Klein, How Mike Lindell, the MyPillow guy, became a midterm messenger, CNN (Nov.
4, 2018), available at, https://www.cnn.com/2018/11/03/politics/donald-trump-mike-lindell-
mypillow-midterms/index.html (Ex. 234); Why Now is the Time to Stand Up for America,
ThriveTime Show (Dec. 23, 2020), available at, https://www.thrivetimeshow.com/business-
podcasts/mike-lindell-the-my-pillow-founder-why-now-is-the-time-to-stand-up-for-america-the-
freedoms-we-enjoy-and-president-donald-j-trump/ (Ex. 235); see also FlashPoint: Stand Firm!
Mike Lindell, Hank Kunneman and Mario Murillo, The Victory Channel (Dec. 23, 2020),
available at, https://www.youtube.com/watch?v=kPhpPLknmBw (Ex. 236); MyPillow CEO Mike
Lindell Joins John Di Lemme LIVE on the Biden Scam Series, Conservative Business Journal
(Dec. 11, 2020), available at, https://www.conservativebusinessjournal.com/podcast/mypillow-
ceo-mike-lindell-biden-scam-series/ (Ex. 237).
18
   My Pillow gets endorsement from President Trump, YouTube (July 20, 2017), available at,
https://www.youtube.com/watch?v=tSv_cGUhHOI (Ex. 238).
19
   Id.
20
   Id.


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                     Donald Trump endorses MyPillow during a nationally televised
                     White House meeting on July 19, 2017.




                     Lindell touts Trump’s endorsement during an interview on Fox
                     Business’s After the Bell on July 20, 2017.

       23.    After receiving Trump’s endorsement for MyPillow, Lindell sought Trump’s

endorsement for another product in which he had a financial stake—an extract from a poisonous

shrub that Lindell has held out as a “miracle” and a “cure” for COVID-19.21 During a televised

interview, Lindell claimed the product was an “amazing cure that works for everybody” that “had

been tested by over a thousand people to be safe.”22 When pressed to provide evidence supporting

his claims, Lindell was unable to do so, but claimed that there had “absolutely” been Phase 1 and


21
   Heather Murphy, Drug Pitched to Trump for Covid-19 Comes From a Deadly Plant, N.Y.
Times (Aug. 20, 2020), available at, https://www.nytimes.com/2020/08/20/health/covid-
oleandrin-trump-mypillow.html (Ex. 239).
22
   Anderson Cooper to MyPillow CEO: How do you sleep at night?, CNN Business (Aug. 18,
2020), available at, https://www.cnn.com/videos/business/2020/08/18/mike-lindell-anderson-
cooper-coronavirus-therapeutic-mypillow-sot-vpx.cnn (Ex. 240).


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Phase 2 testing (there had not) and that it will “get[] approved by the FDA” (it did not). Rather

than approving Lindell’s plant extract as a treatment for COVID-19, the FDA issued a warning

letter to its marketers, writing that the product was “unapproved” and was being sold in violation

of the law, and requesting that they “take immediate action to cease the sale” of the product, which

“is not generally recognized as safe and effective for use under the conditions prescribed,

recommended, or suggested in its labeling.”23

                               Lindell is a Gifted “Numbers Guy”

       24.     Lindell did not accumulate a personal net worth of over $300 million simply by

being an aggressive salesman and advertiser: he was always “good at math” and “numbers came

easily” to him, including “[p]ercentages, ratios, odds.”24

       25.     Over the course of three decades, Lindell was a professional card counter with a

penchant for solving real-time mathematical equations necessary for beating the odds.25 While

hunkered down at the blackjack table, he would feign a drunken stupor while hundreds of different

number combinations ran through his mind like a “computerized algorithm,” enabling Lindell to

calculate his bets based on the patterns he observed coming from the dealer’s hand.26

       26.     Lindell “especially loved game theory—the idea that success in making choices

depends on understanding the choices of others.”27 Lindell’s success is due in part to his aptitude

for understanding the choices of others—in particular what can motivate others to buy MyPillow

products.


23
   FDA Warning Letter to Phoenix Biotechnology Inc. (Dec. 15, 2020), available at,
https://www.fda.gov/inspections-compliance-enforcement-and-criminal-investigations/warning-
letters/phoenix-biotechnology-inc-612178-12152020 (Ex. 241).
24
   Mike Lindell, What are the Odds? 32 (2019).
25
   Lee Weeks, With God All Things Are Possible, Decision Mag. (June 1, 2020), available at,
https://decisionmagazine.com/with-god-all-things-are-possible/ (Ex. 242).
26
   Id.
27
   Mike Lindell, What are the Odds? 32 (2019).


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       27.    As a former professional card counter and self-described “numbers guy,” Lindell

“look[s] at numbers every single day” at MyPillow.28

                Lindell Understood What Really Happened on Election Night

       28.    In the months leading up to the 2020 election, while Democrats were encouraging

people to vote by mail to minimize the spread of COVID-19 at polling places on Election Day,

Donald Trump—whom Lindell followed on Twitter until Trump was banned—repeatedly

discouraged his supporters from voting by mail and encouraged them to vote in person instead.29

       29.    Lindell knew that Trump had discouraged his supporters from voting by mail, as

evidenced by the fact that Lindell himself retweeted two of Trump’s tweets doing so.30




28
   President Trump’s not going anywhere. Mike Lindell with Sebastian Gorka on AMERICA
First at 5:27, America First with Dr. Sebastian Gorka (Dec. 3, 2020), available at,
https://www.facebook.com/watch/?v=438439460653478 (Ex. 243) (“I’m a numbers guy.”).
29
   Donald J. Trump (@realDonaldTrump), Twitter (Apr. 8, 2020), previously available at,
https://twitter.com/realDonaldTrump/status/1247861952736526336; Donald J. Trump
(@realDonaldTrump), Twitter (Apr. 11, 2020), previously available at,
https://twitter.com/realDonaldTrump/status/1249132374547464193?ref_src=twsrc%5Etfw;
Donald J. Trump (@realDonaldTrump), Twitter (May 26, 2020), previously available at,
https://twitter.com/realDonaldTrump/status/1265255835124539392?s=20; Donald J. Trump
(@realDonaldTrump), Twitter (June 22, 2020), previously available at,
https://twitter.com/realDonaldTrump/status/1295385113862090753?ref_src=twsrc%5Etfw;
Donald J. Trump (@realDonaldTrump), Twitter (Aug. 23, 2020), previously available at,
https://twitter.com/realDonaldTrump/status/1297495295266357248; Donald J. Trump
(@realDonaldTrump), Twitter (Sept. 25, 2020), previously available at,
https://twitter.com/realDonaldTrump/status/1309455713882828802; Donald J. Trump
(@realDonaldTrump), Twitter (Sept. 28, 2020), previously available at,
https://twitter.com/realDonaldTrump/status/1310585397630689280; Donald J. Trump
(@realDonaldTrump), Twitter (Sept. 30, 2020), previously available at,
https://twitter.com/realDonaldTrump/status/1311328767395205124 (Ex. 244).
30
   Mike Lindell (@realMikeLindell), Twitter (May 10, 2020), previously available at,
https://twitter.com/realMikeLindell/status/1259509365448437760 (Ex. 245); Mike Lindell
(@realMikeLindell), Twitter (July 27, 2020), previously available at,
https://twitter.com/realMikeLindell/status/1287542589483364354 (Ex. 246).


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       30.    Meanwhile, election officials in many states were prohibited from counting mail-

in ballots before Election Day—meaning that Democratic-leaning mail-in ballots would not be

counted until after Republican-leaning in-person voting had been completed.31

       31.    Precisely as one would expect under these circumstances—and as many media

outlets and election officials had, in fact, predicted beforehand—Trump’s early leads in swing

states were overtaken when Democratic-leaning mail-in ballots were counted as polls across the

country closed on Election Day.32

       32.    From Lindell’s retweeting of Trump’s tweets discouraging his supporters from

voting by mail, Lindell was well aware of the circumstances leading to Trump’s early leads being

overtaken by Democratic-leaning mail-in ballots.

       33.    While Trump falsely claimed that the election had been stolen from him, by

November 12, 2020, Trump’s own Cybersecurity & Infrastructure Security Agency (“CISA”)—




31
   Anthony Izaguirre, Delays in verifying mail-in ballots will slow election tally, Associated
Press (Oct. 4, 2020), available at, https://apnews.com/article/virus-outbreak-election-2020-
donald-trump-elections-voting-2020-b382942a72809ab70a32d7dc1a93ee40 (Ex. 247) (In
Pennsylvania, “Republican state lawmakers there have not allowed additional time to process
ballots that arrive before Election Day, despite pleas from local election officials.”); Katie
Wedell & Kyle Bagenstose, Still waiting for a winner? Blame outdated mail-in ballot counting
laws in seven states, USA Today (Nov. 4, 2020), available at, https://www.usatoday.com/story/n
ews/investigations/2020/11/04/who-won-mail-ballots-rules-delay-election-results-key-
states/6152470002/ (Ex. 248) (“But the laws in seven states prevented election officials from
counting many of them until Election Day. Votes that could have been tallied in advance sat in
unopened envelopes until Tuesday morning.”).
32
   See e.g., Holly Otterbein, ‘The math is pretty simple’: Trump’s lead shrinks in Pennsylvania,
Politico (Nov. 4, 2020), available at, https://www.politico.com/news/2020/11/04/pennsylvania-
results-trump-biden-434124 (Ex. 249) (“There were more than 1 million mail ballots left to be
counted … So far, 78 percent of mail ballots have broken for Biden and 21 percent have been
won by Trump.”); Jenny Jarvie, Trump’s lead in Georgia shrinks to below 1,000 votes, L.A.
Times (Nov. 4, 2020), available at, https://www.latimes.com/politics/story/2020-11-04/election-
trump-margin-narrows-georgia (Ex. 344) (“Trump’s lead in Georgia shrinks to below 1,000
votes”).


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then led by a Trump appointee Chris Krebs—confirmed that there was “no evidence that any

voting system deleted or lost votes, changed votes, or was in any way compromised.”33

                        Mike Lindell Cons People into Buying Pillows
               By Telling Them the “Big Lie” About Dominion and the Election

       34.     Lindell purposefully disregarded CISA’s announcement—and the natural

consequence of Trump discouraging his supporters from voting by mail—to exploit an opportunity

to market MyPillow. Lindell had MyPillow sponsor Women for America First’s “March for

Trump” bus tour, which was dedicated to promoting the Big Lie that the election had been stolen.34

In exchange for sponsoring the bus tour, MyPillow received advertising on the tour bus and

Lindell—known as “the MyPillow Guy”—was given a platform to speak on the tour.




                      The Women for America First “March for Trump” bus featured
                      MyPillow’s logo toward the front of the bus.


33
   Cybersecurity & Infrastructure Security Agency, Joint Statement From Elections
Infrastructure Government Coordinating Council & The Election Infrastructure Sector
Coordinating Executive Committees (Nov. 12, 2020), available at,
https://www.cisa.gov/news/2020/11/12/joint-statement-elections-infrastructure-government-
coordinating-council-election (Ex. 19).
34
   Women for America First was cofounded by former tea party activist Amy Kremer and her
daughter Kylie Jane Kremer, who together created the “Stop the Steal” Facebook group. See
Craig Silverman, Jane Lytvynenko & Pranav Dixit, How ‘The Women For America First’ Bus
Tour Led To The Capitol Coup Attempt, BuzzFeed News (Jan. 25, 2021), available at,
https://www.buzzfeednews.com/article/craigsilverman/maga-bus-tour-coup (Ex. 252).


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        35.      Lindell promoted MyPillow’s sponsorship of the “March for Trump” bus tour on

Twitter and helped disseminate the Big Lie about the election by speaking at rallies and telling a

fable that there were “algorithms” in Dominion machines programmed to steal votes from Trump

and that the fraud was discovered in an “election night miracle” when Trump’s lead was so great

that it broke the algorithms.35

        36.      The website for the MyPillow-sponsored “March for Trump” bus tour also

promoted the January 6 rally in Washington, D.C. by saying, “we will do whatever it takes to

ensure the integrity of this election …”36




 The “March for Trump” bus tour website invited people to join the January 6, 2021 rally in Washington, D.C.




35
   Mike Lindell (@realMikeLindell), Twitter (Nov. 29, 2020), previously available at,
https://twitter.com/realMikeLindell/status/1333094936758153219 (Ex. 253); Mike Lindell
mentions possible ‘civil war’ during pro-Trump rally at U.S. Capitol on January 5, 2021 at 1:54-
2:12 (Tr. at 3:14- 15), YouTube (Jan. 5, 2021), previously available at,
https://www.youtube.com/watch?v=s7nIFVLrdIE&feature=youtu.be (last visited Jan. 28, 2021)
(Ex. 254) (“At 11:15 on election night, this is when the miracle happened.”); Women for America
First Rally at 2:51:08-38 (Tr. at 4:14-22), C-SPAN (Dec. 12, 2020), available at, https://www.c-
span.org/video/?507234-1/women-america-rally (Ex. 255) (“On election night, at 11:15 p.m., all
the algorithms that were set across our country in the machines … all broke.”); Mike Lindell
opens the Jericho March, Dec 12 at 6:59-7:09 (Tr. at 7:4-7), Jericho March (Dec. 12, 2020),
available at, https://app.videosquirrel.app/watch/1812 (Ex. 256) (“at 11:15 the algorithms of
these machines that cheated our whole country could not keep up…it broke the algorithms.”).
36
   Trump March, available at, https://web.archive.org/web/20210106224955/https://trumpmarch.
com/ (Ex. 257).


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       37.      The “March for Trump” campaign spent the weeks leading up to the January 6 rally

on a 20-city bus tour, spreading the Big Lie across the country.37

                Lindell Sets Out to Find and Manufacture “Evidence” to Support
             His Defamatory Marketing Campaign and False Preconceived Narrative

       38.      Lindell also set out in search of “evidence” he could use to support the false

preconceived—but profitable—narrative that the election had been stolen. Sidney Powell and

L. Lin Wood offered Lindell the purported “evidence” he was looking for—which they posted on

a fundraising website in support of a defamatory media tour falsely alleging that Dominion stole

the election by manipulating votes through the use of an algorithm. Lindell helped finance

Powell’s and Wood’s defamatory media campaign.

       39.      Because he spoke with Powell at least twice a day,38 Lindell was well aware that

Powell had been kicked off Trump’s legal team.39

       40.      And, from the “due diligence” he admits he performed,40 Lindell also knew that on

December 1, 2020, after Powell and Wood had posted their “evidence” to their fundraising

website, Trump appointee and then-U.S. Attorney General William Barr rebutted their false claims

against Dominion, stating, “There’s been one assertion that would be systemic fraud and that

would be the claim that machines were programmed essentially to skew the election results. And




37
   Ex. 252.
38
   RSBN’s Exclusive with Mike Lindell Part 2 at 15:54, RSBN (Jan. 18, 2021), available at,
https://rumble.com/vczx1t-rsbn-exclusive-interview-with-mike-lindell-part-2.html (Ex. 258)
(“Her and I talk at least twice a day.”).
39
   Maggie Haberman & Alan Feuer, Trump Team Disavows Lawyer Who Peddled Conspiracy
Theories on Voting, N.Y. Times (Nov. 22, 2020), available at,
https://www.nytimes.com/2020/11/22/us/politics/sidney-powell-trump.html (Ex. 259).
40
   Mike Lindell to Newsmax TV: ‘President Trump will Prevail,’ Newsmax (Dec. 17, 2020),
available at, https://www.newsmax.com/newsmax-tv/mike-lindell-election-fraud-mypillow-
ceo/2020/12/17/id/1002145/ (Ex. 260) (“I’ve done my own due diligence”); Ex. 235 (“done my
own due diligence”).


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the DHS and DOJ have looked into that, and so far, we haven’t seen anything to substantiate

that.”41

           41.   Indeed, the “evidence” put forward by Powell and Wood did not substantiate their

false accusations, but had been deliberately misrepresented, manufactured, and cherry-picked. For

example:

                 (a) Powell and Wood posted the declaration of an anonymous “military intelligence
                     expert” code-named “Spyder,” who has since been identified as Josh Merritt.42
                     That “military intelligence expert” has now admitted that he never actually
                     worked in military intelligence and that the declaration Powell’s team wrote for
                     him to sign is “misleading” and he “was trying to backtrack” on it.43

                 (b) Powell and Wood cherry-picked Princeton professor Andrew W. Appel’s
                     statements about a decades-old machine not designed by Dominion, which was
                     not used in the 2020 election in any of the swing states being challenged by
                     Powell and Wood. Powell and Wood posted Professor Appel’s cherry-picked
                     statements to their fundraising website as though Professor Appel’s expertise
                     was “evidence” supporting the election-rigging claims against Dominion. In
                     reality, Professor Appel and 58 other specialists in election security have
                     forcefully rebutted Powell’s and Wood’s claims, explaining that they “have
                     never claimed that technical vulnerabilities have actually been exploited to alter
                     the outcome of any US election.”44 They further explained that “no credible
                     evidence has been put forth that supports a conclusion that the 2020 election
                     outcome in any state has been altered through technical compromise.”45

                 (c) On their fundraising website, Powell and Wood also claimed that Georgia’s
                     Republican Governor Kemp and Secretary of State Raffensperger had “rushed”

41
   Michael Balsamo, Disputing Trump, Barr says no widespread election fraud, Associated Press
(Dec. 1, 2020), available at, https://apnews.com/article/barr-no-widespread-election-fraud-
b1f1488796c9a98c4b1a9061a6c7f49d (Ex. 43).
42
   Complaint at Ex. 7, Pearson v. Kemp, No. 12-cv-04809 (N.D. Ga. Nov. 25, 2020) [Dkt. 1-9],
available at, https://defendingtherepublic.org/?page_id=986.
43
   Emma Brown, Aaron C. Davis & Alice Crites, Sidney Powell’s secret ‘military intelligence
expert,’ key to fraud claims in election lawsuits, never worked in military intelligence, Wash.
Post (Dec. 11, 2020), available at, https://www.washingtonpost.com/investigations/sidney-
powell-spider-spyder-witness/2020/12/11/0cd567e6-3b2a-11eb-98c4-25dc9f4987e8_story.html
(Ex. 2).
44
   See Tony Adams, Prof. Andrew W Appel, et al., Scientists say no credible evidence of
computer fraud in the 2020 election outcome, but policymakers must work with experts to
improve confidence, Matt Blaze (Nov. 16, 2020), available at,
https://www.mattblaze.org/papers/election2020.pdf (Ex. 47).
45
   Id.


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                 through the purchase of Dominion voting machines and software, noting that the
                 Dominion certification from the Secretary of State was “undated,” and attaching
                 a copy of an undated Dominion Certification. In reality, the authentic certificate
                 is dated August 9, 2019—more than a year before the November 2020 election—
                 and is publicly available online at the Georgia Secretary of State’s website.46
                 Upon information and belief, Powell, Wood, or someone reporting to them
                 downloaded the authentic certificate from the Secretary of State’s website and
                 cut off the date, seal, and signature before posting the doctored document to their
                 fundraising website. Other government records prove that Dominion won the
                 Georgia contract after scoring the highest in a competitive bid process during
                 which it competed against Election Systems & Software (“ES&S”) and
                 Smartmatic; those records are also publicly available on the very same webpage
                 where, upon information and belief, Powell, Wood, or someone reporting to
                 them downloaded the dated Dominion Certification before doctoring it.47

       42.     Despite the glaring problems with Powell’s and Wood’s purported “evidence,” and

two days after Barr’s announcement that there was no evidence to substantiate accusations of

machine fraud, Lindell continued promoting the Big Lie.

       43.     On December 3, 2020, Lindell appeared on America First with Sebastian Gorka.

During that interview, Lindell told a global television audience that he, Powell, and Wood were

“getting the word out on this election fraud” and that they were trying to get these “Dominion

machines.”48

       44.     Having been given a platform to promote the Big Lie, Lindell also took the

opportunity to market MyPillow, saying that the “President loves” MyPillow and that people




46
   Georgia Secretary of State, Elections Security Is Our Top Priority: Security-Focused Tech
Company, Dominion Voting to Implement New Verified Paper Ballot System, available at,
https://sos.ga.gov/securevoting/ (Ex. 1); compare Complaint at Ex. 5, Pearson v. Kemp, No.
1:20-cv-04809 (N.D. Ga. Nov. 25, 2020) [Dkt. 1-6], available at,
https://defendingtherepublic.org/?page_id=986 with Georgia Secretary of State,
Dominion Certification (Aug. 9, 2019), available at, https://sos.ga.gov/admin/uploads/Dominion
_Certification.pdf (Ex. 10).
47
   Ex. 1.
48
   President Trump’s not going anywhere. Mike Lindell with Sebastian Gorka on AMERICA
First at 4:4-6, 6:42-44 (Tr. at 5:8-9, 7:19), America First with Dr. Sebastian Gorka (Dec. 3,
2020), available at, https://www.facebook.com/watch/?v=438439460653478 (Ex. 243).


                                               16
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should go to MyPillow.com and use promo code “Gorka.”49 During the interview, the MyPillow

logo, website, and phone number were also prominently displayed for viewers.50




               The MyPillow logo, website, and phone number are shown during a Mike Lindell
               interview on America First with Sebastian Gorka on December 3, 2020.

       45.     By December 7, Georgia had conducted an independent audit and hand count of

100% of the ballots—all of which were paper ballots—conclusively disproving the lie that

Dominion’s tabulating machines had miscounted votes or rigged the election. Indeed, Georgia

conducted three counts confirming the result of the presidential election.51

       46.     By December 9, Powell’s and Wood’s sham litigations in Georgia, Arizona,

Michigan, and Wisconsin had been dismissed.

       47.     The United States District Court for the Eastern District of Michigan found that

Powell and Wood had submitted “nothing but speculation and conjecture that votes for President

Trump were destroyed, discarded or switched to votes for Vice President Biden.” Op. & Order at

34, King v. Whitmer, No. 20-cv-12134 (E.D. Mich. Dec. 7, 2020) [Dkt. 62].


49
   Id. at 2:51-52, 3:09-21 (Tr. at 4:10, 4:16-19).
50
   Id. at 3:01-19.
51
   Georgia Secretary of State, Historic First Statewide Audit of Paper Ballots Upholds Result of
Presidential Race, available at, https://sos.ga.gov/index.php/elections/historic_first_statewide_a
udit_of_paper_ballots_upholds_result_of_presidential_race (Ex. 11).


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          48.    And the United States District Court for the District of Arizona found that the

evidence they put forward was “largely based on anonymous witnesses, hearsay, and irrelevant

analysis of unrelated elections,” and includes “expert reports” that “reach implausible conclusions,

often because they are derived from wholly unreliable sources.” Order at 24-25, Bowyer v. Ducey,

No. 2-20-cv-02321 (D. Ariz. Dec. 9, 2020) [Dkt. 84] (emphasis added).

          49.    Despite the fact that Powell’s and Wood’s “evidence” and sources had been

discredited and their cases had been dismissed, Lindell persisted with the Big Lie.

          50.    On December 11, 2020, he appeared on the Conservative Business Journal and

described what he dubbed the “election night miracle”—falsely telling his audience that at 11:15

p.m. on election night, Trump got so many votes that he “broke the algorithm” in the Dominion

machines that had been programmed to give “1.3 to Biden and 0.7 to the president” for each vote

cast.52

            Lindell Uses the Big Lie to Market MyPillow at Rallies in Washington, D.C.

          51.    On December 12, 2020 in Washington, D.C., Lindell spoke at a Women for

America First rally that MyPillow had sponsored. The rally was nationally broadcast on C-SPAN,

which identified Lindell as “MyPillow CEO.”53 During his speech, Lindell repeated the lie that

“the algorithms” in the machines broke.54 Despite the fact that Georgia had already confirmed the

vote tallies from the Dominion machines by hand counting all the paper ballots, Lindell told the

nationwide audience that “we cannot … let them use these machines” in the Georgia Senate run-

off races.55



52
   Ex. 237 at 05:26-37 (Tr. at 5:21-23).
53
   Women for America First Rally, C-SPAN (Dec. 12, 2020), available at, https://www.c-
span.org/video/?507234-1/women-america-rally (Ex. 255).
54
   Id. at 2:51:08-38, 2:52:07-09, 2:57:44-46 (Tr. at 4:15-22, 5:7, 9:16-17).
55
   Id. at 2:58:22-26 (Tr. at 10:1-2).


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              Mike Lindell speaks at the Women for America First rally in Washington, D.C.,
              on December 12, 2020.

       52.     Also on December 12, 2020 in Washington, D.C., Lindell spoke at the Jericho

March, which MyPillow had sponsored.

       53.     The Jericho March website states that “[j]ust as Joshua was instructed to march

around the walls of Jericho, Jericho Marchers march around at a specific place and time until that

darkness is exposed, and the walls of corruption fall down.”56

       54.     In the biblical account of Jericho, after the horns had blown and the walls of Jericho

had fallen down, armed soldiers sacked and destroyed the city.57

       55.     At the Jericho March, Eric Metaxas introduced Lindell and told the crowd to use

the promo code “ERIC” to buy a MyPillow; this was followed by a MyPillow ad featuring Lindell

on the broadcast of the march on Right Side Broadcasting Network (“RSBN”).58




56
   Id.
57
   See Joshua 6:1-24.
58
   Ex. 256.


                                                    19
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                         Mike Lindell appears in a MyPillow ad on RSBN alongside Eric
                         Metaxas speaking during the Jericho March in Washington, D.C.,
                         on December 12, 2020.

          56.     Lindell then took the stage and bellowed, “Everything I’ve been telling you for

three weeks now is true. I have seen it. The fraud is 100%.”59 Lindell continued, “Georgia …

better have a fair election and not use those machines.”60




                         Mike Lindell speaks at the Jericho March in Washington, D.C.
                         on December 12, 2020.

          57.     Later, the RSBN broadcast of the Jericho March again cut to a split screen. The

left half of the screen featured failed congressional candidate Leon Benjamin yelling that “the




59
     Id. at 00:49-1:00 (Tr. at 1:11-13).
60
     Id. at 08:28-33 (Tr. at 8:9).


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Jericho walls must come down!” while Lindell advertised MyPillow on the right half of the

screen.61




                    Mike Lindell appears in a MyPillow ad on RSBN alongside Leon
                    Benjamin speaking at the Jericho March in Washington, D.C. on
                    December 12, 2020.

       58.     Along with Lindell and MyPillow marketing, the Women for America First rally

and the Jericho March also featured Ali Alexander, who had spoken alongside Lindell’s allies

Sidney Powell and Lin Wood at the so-called “Stop the Steal Rally” in Alpharetta, Georgia ten

days earlier. During that rally, Powell and Wood had falsely accused Dominion of rigging the

election and bribing Georgia’s Governor. Alexander had referred to the crowd as “foot soldiers,”

and Wood had instructed them to surround the governor’s house and blow their horns.62

             Dominion Repeatedly Demands Retraction of the Big Lie Being Spread
                by Lindell and His Allies but Lindell Repeatedly Doubles Down

       59.     On December 16, 2020, Dominion sent a 15-page retraction demand letter to

Lindell’s ally, Sidney Powell. The letter outlined the falsity of the claims that Powell and Lindell



61
   Jericho March Live from Washington, D.C. at 2:19:42-21:02, Right Side Broadcasting (Dec.
12, 2020),
available at, https://www.facebook.com/rsbnetwork/videos/vb.414280728767306/188101792958
083/?type=2&theater (Ex. 261).
62
   Sidney Powell, Lin Wood attend ‘Stop the Steal’ rally in Georgia, YouTube, (Dec. 2, 2020),
available at, https://www.youtube.com/watch?v=pq-_B5z3QIA (last visited Feb. 3, 2021) (Ex.
44).


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had been making about Dominion.63 The letter made headlines in The New York Times, The

Washington Post, Forbes, and other national media outlets.64 Because of the amount of press

surrounding the letter, and the fact that Lindell bankrolled Powell’s defamatory media campaign

and speaks to Powell at least twice a day,65 Lindell was likely aware of the letter’s contents on or

shortly after December 16, 2020.66

       60.     On December 18, Dominion sent retraction demand letters to various media outlets

including One America News Network (“OAN”), Newsmax, and The Epoch Times. The next day,

Newsmax aired a segment purporting to clarify its coverage of Dominion and the election.67

       61.     A few days after Dominion sent the letter to Newsmax, Lindell appeared on

Greg Kelly Reports, hosted by Sebastian Gorka. Lindell started to describe what had purportedly




63
   Letter from T. Clare and M. Meier to S. Powell (Dec. 16, 2020) (Ex. 3).
64
   Alan Feuer, Dominion demands that Sidney Powell retract ‘baseless and false allegations’
about voting machines, N.Y. Times (Dec. 17, 2020), available at, https://www.nytimes.com/2020
/12/17/us/dominion-demands-that-sidney-powell-retract-baseless-and-false-allegations-about-
voting-machines.html (Ex. 154); Emma Brown, Dominion sues pro-Trump lawyer Sidney
Powell, Seeking more than $1.3 billion, Wash. Post (Jan. 8, 2021), available at,
https://www.washingtonpost.com/politics/dominion-sues-pro-trump-lawyer-sidney-powell-
seeking-more-than-13-billion/2021/01/08/ebe5dbe0-5106-11eb-b96e-
0e54447b23a1_story.html (Ex. 167); Alison Durkee, Dominion Demands Sidney Powell Retract
‘Knowingly Baseless’ Voting Machine Conspiracy Theory, Forbes (Dec. 17, 2020), available at,
https://www.forbes.com/sites/alisondurkee/2020/12/17/dominion-demands-sidney-powell-
retract-knowingly-baseless-voting-machine-conspiracy-theory/?sh=4cc7cd453db0 (Ex. 168);
Kaitlan Collins, Kevin Liptak & Pamela Brown, Trump campaign told to preserve all documents
related to Sidney Powell and Dominion Voting Systems, CNN (Dec. 19, 2020), available at,
https://www.cnn.com/2020/12/19/politics/trump-campaign-sidney-powell-dominion-voting-
systems/index.html (Ex. 169).
65
   RSBN’s Exclusive with Mike Lindell Part 2 at 15:52-54 (Tr. at 15:1-2), RSBN (Jan. 18, 2021),
available at, https://rumble.com/vczx1t-rsbn-exclusive-interview-with-mike-lindell-part-2.html
(Ex. 258) (“[Sidney] has been working night and day. Her and I talk at least twice a day.”).
66
   Id. (“[Sidney] has been working night and day. Her and I talk at least twice a day.”).
67
   John Whitehouse (@existentialfish), Twitter (Dec. 21, 2020), available at,
https://twitter.com/existentialfish/status/1341078245878472706 (Ex. 262).


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happened “at 11:15 on election night.” Gorka cut him off, telling him they were not going to

discuss that.68

        62.       Later that day, after being cut off by Gorka on Newsmax, Lindell used Twitter to

disseminate the Big Lie about Dominion, including that “We have all the evidence!!! Biggest

election fraud in world history!!!! Crime against the world!!!”69 and “Millions of votes were stolen

by dominion machines!”70




                               Mike Lindell tweets from December 21, 2020.

        63.       Two days later, on December 23, 2020, Dominion sent Lindell a letter demanding

that Lindell stop making false claims about Dominion.71




68
   Mike Lindell to Newsmax TV: ‘American Dream’ is on the Line at 03:38-47 (Tr. at 5:2-6),
Newsmax (Dec. 21, 2020), available at, https://www.newsmax.com/newsmax-tv/mike-lindell-
election-lawsuits-american-dream/2020/12/21/id/1002635/ (Ex. 263).
69
   Mike Lindell (@realMikeLindell), Twitter (Dec. 21, 2020), previously available at,
https://twitter.com/realMikeLindell/status/1341211411771498496 (Ex. 264).
70
   Mike Lindell (@realMikeLindell), Twitter (Dec. 21, 2020), previously available at,
https://twitter.com/realMikeLindell/status/1341233672729583617 (Ex. 265).
71
   Letter from T. Clare and M. Meier to M. Lindell (Dec. 23, 2020) (Ex. 266).


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       64.      On December 27, 2020, four days after receiving Dominion’s letter, and almost

three weeks after Georgia state officials had reaffirmed the results of the election again, Lindell

tweeted: “The truth of all the election fraud is all going to come out! 1.2 Biden… .80 President

Trump (biggest election crime ever!) Everyone will then know @realDonaldTrump won by 6m

votes!”72




                              Mike Lindell tweet from December 27, 2020.

            Lindell Speaks at and Sponsors Rallies in Washington, D.C. the Day Before
                     and the Day of the Storming of the United States Capitol

       65.      On January 5, 2021, Lindell spoke at the Moms for America “Save the Republic

Rally” in front of the United States Capitol in Washington, D.C. At that rally, Lindell repeated

the Big Lie, claimed that “algorithms” in “Dominion machines” counted Biden votes as 1.26 and

counted Trump votes as 0.74, and said there will not be a “civil war if the truth comes out.”73




72
   Mike Lindell (@realMikeLindell), Twitter (Dec. 27, 2020), previously available at,
https://twitter.com/realMikeLindell/status/1343199095863832577 (Ex. 267).
73
   Mike Lindell mentions possible ‘civil war’ during pro-Trump rally at U.S. Capitol on January
5, 2021 at 1:32, 2:11-12, 2:44-50, 5:28-30 (Tr. at 3:5, 3:19-4:2, 9:13), Moms for America “Save
the Republic” Rally (Jan. 5, 2021), previously available at,
https://www.youtube.com/watch?v=s7nIFVLrdIE&feature=youtu.be (last visited Jan. 28, 2021)
(Ex. 254).


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              Mike Lindell speaks at the Moms for America “Save the Republic Rally” in front
              of the United States Capitol in Washington, D.C. on January 5, 2021.

       66.    The next day, on January 6, 2021, after a MyPillow-sponsored “Save America

Rally” where Donald Trump and Rudy Giuliani repeated the Big Lie about Dominion, a mob

marched from the White House to the United States Capitol, pushed through barricades, smashed

windows, broke down doors, and stormed into the halls of the House and the Senate. The Capitol

was put on lockdown, buildings were evacuated, and Congress’s certification of the vote was

temporarily halted. As the mob stormed the Capitol, Lindell posted a Facebook Live video and

claimed that “the riots you are seeing on TV, that’s a joke…. Don’t believe what you are seeing

on the news … there was some stuff early on with Antifa. I think they were plants.”74

       67.    While Lindell was on Facebook blaming Antifa for the storming of the Capitol by

people shouting “Fight for Trump,” MyPillow was offering discounts to people who used the

promotional code “FightForTrump” at checkout.75




74
   Mike Lindell, Facebook Live at 00:21-24, 3:53-4:15 (Tr. at 2:6-7, 5:2-10) (Jan. 6, 2021),
available at, https://www.facebook.com/realMikeLindell/videos/244547557235289/ (Ex. 268).
75
   Ex. 231.


                                                   25
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       68.      In the days that followed, MyPillow appeared on 16 television networks, with 44%

of its spending going to Fox News, Fox Business, and Fox Sports.76 MyPillow also spent tens of

thousands of ad dollars on Newsmax in the week following the Capitol riot.77

                      Following the Storming of the United States Capitol,
                   Dominion Again Asks Lindell to Stop Lying About Dominion

       69.      Two days after the storming of the Capitol, on January 8, 2021, Dominion sent

another retraction demand letter to Lindell.78 This letter put Lindell on formal written notice of

specific, detailed information and evidence in the public domain demonstrating the falsity of the

Big Lie about Dominion, including the defamation complaint and exhibits that Dominion had filed

against Lindell’s ally Sidney Powell.

       70.      From January 10 to February 2, despite having been specifically directed to the

evidence and sources disproving the Big Lie, Lindell knowingly lied about Dominion to sell more

pillows to people who continued tuning in to hear what they wanted to hear about the election.

For example:

       •     On January 10, Lindell advertised MyPillow in a tweet79 with a link to a January 7
             interview of himself in Trump International Hotel in Washington, D.C., during which
             he again repeated the “miracle of election night” fable, falsely telling his audience that
             “on election night at 11:15 … the machines broke, because the algorithms broke,
             because Donald Trump would have won anyways despite all of the fraud.”80




76
   Id.
77
   Id.
78
   Letter from T. Clare and M. Meier to M. Lindell (Jan. 8, 2021) (Ex. 269).
79
   Mike Lindell (@realMikeLindell), Twitter (Jan. 10, 2021), previously available at,
https://twitter.com/realMikeLindell/status/1348287073967595521 (Ex. 270).
80
   Exclusive Interview with Mike Lindell today at 1:10-40 (Tr. at 2:20-3:6), Shiloh Tabernacle
Church (Jan. 7, 2021), previously available at, https://vimeo.com/498963091 (last visited on Jan.
25, 2021) (Ex. 271).


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                              Mike Lindell tweet from January 10, 2021.

       •   On January 16, Lindell appeared for a televised interview on RSBN and falsely claimed
           that “these machines … are corrupt, they built them to cheat.”81 Although he did not
           produce any evidence, he also falsely claimed there were “thousands of pages” of
           evidence where you can see “how many votes were flipped.”82 During that interview,
           host Brian Glenn told “everyone watching right now to go to MyPillow.com … promo
           code RSBN and get up to 66% off.” Lindell then echoed Glenn and told the listeners,
           “we have 110 products now and you can get savings up to 66% off with that promo
           code RSBN.”83 That same day, MyPillow began offering a promotion where if
           customers entered the promo code “QAnon” at check out, they would receive a $45
           discount—a not-so-subtle nod to the 45th President of the United States.84 Around the
           same time, MyPillow also offered discounts for promo codes “Q” and “storm”—terms
           regularly used by QAnon devotees.85



81
   RSBN (@RSBNetwork) at 7:12-15 (Tr. at 7:9), Twitter (Jan. 16, 2021), available at,
https://twitter.com/RSBNetwork/status/1350559453343490048 (Ex. 272) (“RSBN’s
@brianglenntv exclusive interview with @realMikeLindell on his White House visit and the next
4 years”).
82
   Id. at 3:59-4:08 (Tr. at 4:23-25).
83
   Id. at 24:40-55, 25:28-37 (Tr. at 21:21-25, 22:10-12).
84
   Taylor Telford, MyPillow CEO says Bed Bath & Beyond, Kohl’s, Wayfair are dropping his
products, Wash. Post (Jan. 19, 2021), available at,
https://www.washingtonpost.com/business/2021/01/19/my-pillow-ceo-lindell/ (Ex. 273).
85
   See Zachary Petrizzo, MyPillow Now Offering Discounts With Codes Like ‘QAnon’ and Other
Assorted Insanity, Mediaite (Jan. 16, 2021), available at,
https://www.mediaite.com/news/mypillow-now-offering-discounts-with-codes-like-qanon-and-
other-assorted-insanity/ (Ex. 274).


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                       Tweet by Sara Cook of CBS News depicting use of the “QAnon”
                       promo code on MyPillow’s website.

       •   On January 18, Lindell appeared for an interview on RSBN and falsely claimed that
           “these … machines” were “corrupt” and “the biggest problem in the history of the
           whole world” because “they were built to cheat” and “steal elections” and algorithms
           are “embedded in the machines,” flipping “26,000 votes” … “just in Georgia, Fulton
           County alone.”86 Host Brian Glenn told the audience to “go to MyPillow.com … and
           click away and shop.”

       •   On January 23, Lindell appeared on The JoePags Show and falsely claimed that
           “evidence came out about machine voter fraud by Dominion.” Meanwhile, host Joe
           Pagliarulo (a.k.a. “Joe Pags”) told his listeners “I have MyPillow. Sleep on it every
           night,” and introduced Lindell as “the CEO of MyPillow, a pillow that I sleep on every
           night. My wife sleeps on every night. We love it.” The chyron read “Mike Lindell,
           My Pillow – CEO.”87



86
   Ex. 258 at 3:02-10, 6:38-41, 25:14-20, 28:28-31 (Tr. at 4:9-10, 6:23-24, 19:23, 22:5-6, 24:19).
87
   Sen Ted Cruz – Mike Lindell – Rudy Giuliani – Let’s Go! at 2:31:15, 2:35:44-48, 2:36:07-10
(Tr. at 2:8-9, 7:9-10, 7:22-24), The JoePags Show (Jan. 23, 2021), available at,
https://www.twitch.tv/videos/885060174 (Ex. 275).


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              Mike Lindell appears for an interview on the JoePags Show and the chyron reads
              “Mike Lindell, My Pillow – CEO.”

       •   On February 2, Lindell appeared on the Worldview Weekend Broadcast Network and
           falsely claimed that on November 4 he saw “deviations” in “the Dominion machines,”
           “we have 100% proof now,” and that “on election night” the “algorithms broke in these
           machines.”     During his interview, the chyron directed viewers to “Go to
           mypillow.com” and “Use Promo Code WVW to Receive 66% Off.”88




            Mike Lindell appears for an interview on the WVW Broadcast Network and the
            chyron reads “Go to mypillow.com. Use Promo Code WVW to Receive 66% Off.”


88
   Breaking News: Mike Lindell, Brannon Howse, Mary Fanning, Dr. Shiva, Jovan Pulitzer
Announce New Documentary on Cyber-Coup at 6:18-20, 6:37-7:04, 8:17-20 (Tr. at 7:1-2, 7:9-11,
8:22-23), WVW Broadcast Network (Feb. 2, 2021), available at,
https://www.worldviewweekend.com/tv/video/breaking-news-mike-lindell-brannon-howse-
mary-fanning-dr-shiva-jovan-pulitzer-announce-new (Ex. 276).


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       71.      Lindell knew these claims were false when he made them because Dominion’s

January 8, 2021 letter and the enclosed Powell complaint and exhibits had specifically directed

him to credible evidence and knowledgeable sources from the public domain that disproved and

rebutted the Big Lie. That evidence included, among other things:

       •     A hand recount of paper ballots in Antrim County, Michigan confirmed that
             “Dominion’s voting machines accurately tabulated the votes cast for president in
             Antrim County.”89

       •     Following a bipartisan investigation into the vote in Antrim County, Michigan, the
             state’s Republican Senate Majority Leader Mike Shirkey announced, “Our
             investigation, which has been very intense, discovered none, none of the allegations
             and accusations against Dominion [are] true.”90

       •     A spokesperson for the Michigan Secretary of State confirmed, “We have not seen any
             evidence of fraud or foul play in the actual administration of the election … What we
             have seen is that it was smooth, transparent, secure and accurate.”91

       •     Georgia officials conducted a “hand re-tally, a 100 percent re-tally of the ballots,” and
             confirmed that the results from those audits validated the integrity of Dominion’s
             machines and software.92

       •     At the request of the Trump Campaign, in addition to the hand audit, Georgia also
             conducted a machine recount, which again affirmed the original outcome of the
             presidential race in Georgia.93



89
   See Powell Complaint attached to Letter from T. Clare and M. Meier to M. Lindell (Jan. 8, 2021)
(Ex. 269) (citing Trump still wins small Michigan county after hand recount, Associated Press
(Dec. 17, 2020), available at, https://apnews.com/article/election-2020-joe-biden-donald-trump-
michigan-elections-07e52e643d682c8033a0f26b0d863387 (Ex. 15)).
90
   See id. (citing Abigail Censky, How Misinformation Lit The Fire Under A Year Of Political
Chaos In Michigan, NPR (Jan. 1, 2021), available at,
https://www.npr.org/2021/01/01/952528193/how-misinformation-lit-the-fire-under-a-year-of-
political-chaos-in-michigan (Ex. 17)).
91
   See id. (citing Nick Corasaniti, Reid J. Epstein & Jim Rutenberg, The Times Called Officials in
Every State: No Evidence of Voter Fraud, N. Y. Times (Nov. 10, 2020), available at,
https://www.nytimes.com/2020/11/10/us/politics/voting-fraud.html (Ex. 16)).
92
   See id. (citing Amy Gardner & Paulina Firozi, Here’s the full transcript and audio of the call
between Trump and Raffensperger, Wash. Post, (Jan. 3, 2021), available at,
https://www.washingtonpost.com/politics/trump-raffensperger-call-transcript-georgia-
vote/2021/01/03/2768e0cc-4ddd-11eb-83e3-322644d82356_story.html (Ex. 13)).
93
   See id.


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       •   Georgia Secretary of State Raffensperger explained after a signature match audit
           affirmed the outcome of the 2020 presidential race in Georgia for a third time, “The
           Secretary of State’s office has always been focused on calling balls and strikes in
           elections and, in this case, three strikes against the voter fraud claims and they’re out.”94

       •   An official from Georgia’s Secretary of State’s office explained, “Let’s just go to the
           other ridiculous claims, that Dominion voting machines are somehow using fractional
           voting or flipping votes. Again, by doing the hand tally, it shows none of that is true.
           Not a whit.”95

       •   In Arizona, the Maricopa County Board of Supervisors Chairman Clint Hickman, a
           Republican, stated there is “no evidence of fraud or misconduct.”96 Hickman also
           released a statement explaining, “The evidence overwhelmingly shows the system used
           in Maricopa County is accurate and provided voters with a reliable election ... The
           Dominion tabulation equipment met mandatory requirements during logic and
           accuracy testing before the Presidential Preference Election, the Primary Election and
           the General Election. And after each of these 2020 elections, the hand count audit
           showed the machines generated an accurate count.”97

       •   The Elections Infrastructure Government Coordinating Council and the Election
           Infrastructure Sector Coordinating Executive Committees released a joint statement
           confirming that there is “no evidence that any voting system deleted or lost votes,
           changed votes, or was in any way compromised.” The Joint Statement was signed and
           endorsed by, among others, the National Association of State Election Directors,
           National Association of Secretaries of State, and CISA—then led by a Trump
           appointee, Chris Krebs.98

       •   Attorney General Bill Barr stated, “There’s been one assertion that would be systemic
           fraud and that would be the claim that machines were programmed essentially to skew



94
   See id. (citing Georgia Secretary of State, 3rd Strike Against Voter Fraud Claims Means
They’re Out After Signature Audit Finds No Fraud, https://sos.ga.gov/index.php/elections/3rd_st
rike_against_voter_fraud_claims_means_theyre_out_after_signature_audit_finds_no_fraud (Ex.
12)).
95
   See id. (citing WATCH: Georgia election officials reject Trump call to ‘find’ more votes, PBS
(Jan. 4, 2021), available at, https://www.pbs.org/newshour/politics/watch-live-georgia-secretary-
of-states-office-holds-press-conference (Ex. 14)).
96
   See id. (citing Republican Maricopa County chairman says ‘no evidence of fraud or
misconduct’ in presidential election, 12 News, (Nov. 17, 2020), available at,
www.wqad.com/article/news/politics/elections/maricopa-county-chairman-says-no-evidence-of-
fraud-or-misconduct-in-presidential-election/75-6aba1803-850a-460f-8f86-b185a41f4708).
97
   See id. (citing Letter from Clint Hickman to Maricopa County Voters (Nov. 17, 2020),
available at, https://www.maricopa.gov/DocumentCenter/View/64676/PR69-11-17-20-Letter-to-
Voters (Ex. 18)).
98
   See id. (citing Ex. 19).


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           the election results. And the DHS and DOJ have looked into that, and so far, we haven’t
           seen anything to substantiate that.”99

       •   The “experts” Powell and Wood put forward on their fundraising website are
           conspiracy theorists, con artists, and otherwise unreliable sources. For example,
           Russell Ramsland is a failed Republican congressional candidate and conspiracy
           theorist who has publicly claimed, among other things, that George Soros helped form
           the “Deep State” in Nazi Germany in the 1930s—along with President
           George H.W. Bush’s father, the Muslim Brotherhood, and “leftists.”100 (Mr. Soros was
           born in 1930.) Ramsland’s views on these points have been a matter of public record
           since at least 2018. A Delaware judge determined that Ramsland provided “materially
           false information” in support of his claims of vote manipulation101 when he referenced
           and cited locations in Minnesota when alleging voter fraud in Michigan.102 Antrim
           County officials determined that Ramsland’s report on Dominion machines in Antrim
           County was “riddled with false and unsupported claims, baseless attacks, and incorrect
           use of technical terms.”103 Similarly, the former acting director of the Election
           Assistance Commission’s Voting System Testing and Certification program—who is
           actually an expert in voting systems—said that Ramsland’s report showed a “grave
           misunderstanding” of Antrim County’s voting system and “a lack of knowledge of
           election technology and process.”104 Michigan’s Attorney General and Secretary of
           State issued a joint statement that Ramsland’s report was “critically flawed, filled with
           dramatic conclusions without any evidence to support them.”105 And, conclusively
           disproving Ramsland’s report, a hand recount of paper ballots in Antrim County


99
   See id. (citing Michael Balsamo, Disputing Trump, Barr says no widespread election fraud,
Associated Press (Dec. 1, 2020), available at, https://apnews.com/article/barr-no-widespread-
election-fraud-b1f1488796c9a98c4b1a9061a6c7f49d (Ex. 43)).
100
    John Savage, Texas Tea Partiers Are Freaking Out Over ‘Deep State’ Conspiracy Theories,
Vice (Sept. 20, 2018), available at, https://www.vice.com/en/article/mbwgxx/texas-tea-partiers-
are-freaking-out-over-deep-state-conspiracy-theories (Ex. 56).
101
    Rule to Show Cause, Page v. Oath Inc., No. S20C-07-030 (Del. Super. Ct. Dec. 18, 2020).
102
    Clara Hendrickson, Affidavit in Michigan lawsuit seeking to overturn election makes wildly
inaccurate claims about vote, PolitiFact (Dec. 4, 2020), available at,
https://www.politifact.com/factchecks/2020/dec/04/russell-james-ramsland-jr/affidavit-
michigan-lawsuit-seeking-overturn-electi/ (Ex. 57).
103
    See Ali Swenson, Report spreads debunked claims about Dominion machines in Michigan
county, Associated Press (Dec. 15, 2020), available at, https://apnews.com/article/fact-checking-
afs:Content:9847904839 (Ex. 58).
104
    See Todd Spangler, Former election security chief for Trump knocks down Antrim County
report, The Detroit Free Press (Dec. 16, 2020), available at,
https://www.freep.com/story/news/politics/elections/2020/12/16/antrim-county-report-debunked-
by-former-trump-election-official/3923499001/ (Ex. 59).
105
    AG, SOS: Plaintiff’s Report in Antrim County Election Lawsuit Demonstrates Lack of
Credible Evidence in Widespread Fraud or Wrongdoing, Michigan Dep’t of Attorney General
(Dec. 14, 2020), available at, https://www.michigan.gov/ag/0,4534,7-359-92297_47203-
547422–,00.html (Ex. 42).


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             confirmed that “Dominion’s voting machines accurately tabulated the votes cast for
             president in Antrim County.”106

                    Determined to Stick to His False Preconceived Narrative,
               Lindell Promotes Fake “Evidence” From a Conspiracy Theory Blog
                 After Powell, Wood, and Their Evidence Have Been Discredited

       72.      In addition to their “evidence” having been debunked as set forth above, Powell

and Wood have themselves been thoroughly discredited. For example:

       •     In early December, Bill Barr told Trump that the legal team of which Powell was a part
             was “clownish.”107

       •     On December 15, the city of Detroit asked a federal judge to sanction Powell with fines
             and a ban from practicing in the Eastern District of Michigan.108

       •     The next day, seven attorneys in Arizona filed an ethics complaint against Powell,
             alleging she brought “utterly meritless cases.”109

       •     On January 1 and 4, Lindell’s ally Wood falsely accused Chief Justice John G. Roberts
             of being a child-murdering pedophile and called for Vice President Mike Pence to be
             executed by “firing squad” for “treason.”110




106
    See Trump still wins small Michigan county after hand recount, Associated Press (Dec. 17,
2020), available at, https://apnews.com/article/election-2020-joe-biden-donald-trump-michigan-
elections-07e52e643d682c8033a0f26b0d863387 (Ex. 15).
107
    Jonathan Swan, Episode 4: Trump turns on Barr, Axios (Jan. 18, 2021), available at,
https://www.axios.com/trump-barr-relationship-off-the-rails-b33b3788-e7e9-47fa-84c5-
3a0016559eb5.html?utm_source=newsletter&utm_medium=email&utm_campaign=newsletter_a
xiosam&stream=top (Ex. 277).
108
    Darragh Roche, Detroit Seeks Fine and District Ban for ‘Kraken’ Lawyer Sidney Powell,
Newsweek (Dec. 12, 2020), available at, https://www.newsweek.com/detroit-fine-ban-kraken-
lawyer-sidney-powell-1555137 (Ex. 278).
109
    Joe Dana, Bar complaint filed against Trump attorneys in Arizona, 12 News NBC (Dec. 17,
2020), available at, https://www.12news.com/article/news/politics/bar-complaint-filed-against-
trump-attorneys-in-arizona/75-857a2dd9-9e96-47b1-83f5-f9782bd875fb (Ex. 279).
110
    Lin Wood (@LLinWood), Twitter (Jan. 1, 2021), previously available at,
https://twitter.com/LLinWood/status/1345067881319587840; Lin Wood (@LLinWood), Twitter
(Jan. 4, 2021), previously available at, https://twitter.com/LLinWood/status/13459911756904570
91; LinWood (@linwood), Parler (Jan. 4, 2021), previously available at,
https://parler.com/post/99be4095510747c2928ed02a4bc41a18 (Ex. 9).


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       •   The day after the Capitol attack, on January 7, Twitter permanently banned Wood for
           “inciting violence” and violating Twitter’s rule on “ban evasion” when, after he was
           temporarily banned, he threatened to continue tweeting from a second account.111

       •   The next day, Twitter permanently banned Powell “in line with [Twitter’s] policy on
           Coordinated Harmful Activity.”112

       •   Wood was denied the privilege of representing ex-Trump aide Carter Page in Delaware
           after the judge found that Wood’s conduct “exhibited a toxic stew of mendacity,
           prevarication and surprising incompetence.”113

       •   In late January, Nicholas Sandmann, who had been represented by Wood in defamation
           cases based on a viral video of Sandmann facing off with a Native American activist
           while wearing a “Make America Great Again” hat, publicly fired Wood.114

       •   On February 1, Michigan Attorney General Dana Nessel, Governor Gretchen Whitmer,
           and Secretary of State Jocelyn Benson filed a complaint seeking to disbar Powell and
           her colleagues for “violat[ing] their oath and the ethical rules to which they are
           bound.”115

       •   A few days later, Georgia reported that Wood was under investigation for voter
           fraud.116




111
    Ryan Mac, Trump-Supporting Lawyer Lin Wood Has Been Permanently Banned From
Twitter (Jan. 7, 2020), available at, https://www.buzzfeednews.com/article/ryanmac/twitter-bans-
lin-wood (Ex. 280).
112
    Ben Collins & Brandy Zadrozny, Twitter bans Michael Flynn, Sidney Powell in QAnon
account purge, NBC News (Jan. 8, 2021), available at, https://www.nbcnews.com/tech/tech-
news/twitter-bans-michael-flynn-sidney-powell-qanon-account-purge-n1253550 (Ex. 281).
113
    Katherine Fung, Pro-Trump Attorney Lin Wood Not of ‘Sufficient Character’ to Practice
Law, Decides Judge, Newsweek (Jan. 12, 2021), available at, https://www.newsweek.com/pro-
trump-attorney-lin-wood-not-sufficient-character-practice-law-decides-judge-1560898 (Ex. 282).
114
    Jan Wolfe, Pro-Trump Lawyer Lin Wood Fired by Teen Who Faced off With Native American
in Viral Video, U.S. News (Jan. 25, 2021), available at,
https://www.usnews.com/news/us/articles/2021-01-25/pro-trump-lawyer-lin-wood-fired-by-teen-
who-faced-off-with-native-american-in-viral-video (Ex. 283).
115
    Norman Eisen & Joanna Lydgate, The lawyers who pushed Trump’s falsehoods may soon be
done lawyering, Wash. Post (Feb. 3, 2020), available at, https://www.washingtonpost.com/outloo
k/2021/02/03/powell-wood-accountability-lawyer/ (Ex. 284).
116
    April Siese, Pro-Trump lawyer Lin Wood reportedly under investigation for voter fraud, CBS
News (Feb. 3, 2021), available at, https://www.cbsnews.com/news/lin-wood-investigation-voter-
fraud/ (Ex. 285).


                                              34
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       73.      Although his allies had been discredited and their evidence had been debunked,

Lindell remained determined to make the “evidence”—any “evidence”—conform to the false

preconceived narrative supporting MyPillow’s defamatory marketing campaign.

       74.      Lindell found the “evidence” he had been searching for in a dark corner of the

internet on a conspiracy theory blog called The American Report, which is run by people identified

as “Mary Fanning” and Alan Jones, who are facially unreliable for multiple reasons, including, but

certainly not limited to:

       •     Before the identity of its registrant was concealed through the use of a proxy service,
             The American Report’s website was originally registered by someone identified as
             Mary Kirchhoefer. Federal Election Commission contribution records reveal that
             Mary Fanning Kirchhoefer made a number of contributions to the Trump Campaign,
             the Republican National Committee, and other conservative causes and politicians
             from 2000-2020, first identifying herself as a “homemaker” and then, beginning in
             2016, as “retired.”117 A LinkedIn profile for “Mary Fanning Kirchhoefer” reveals no
             education, no credentials, no expertise, and no work history, except that it claims
             Kirchhoefer is the “owner” of “Roper Brown,” a purported interior design firm with no
             company website.118

       •     Alan Jones, for his part, is a self-described “musician and film composer.”119

       •     Neither “Mary Fanning” nor Alan Jones have any apparent background in
             cybersecurity or intelligence.

       •     For years, “Fanning” and Jones have pushed outlandish conspiracy theories, such as
             claiming in 2015 that the United States government had been infiltrated by the Muslim
             Brotherhood.120




117
    See Mary Kirchhoefer Individual Contributions, Federal Election Commission, available at,
https://www.fec.gov/data/receipts/individual-
contributions/?data_type=processed&contributor_name=mary+kirchhoefer.
118
    Mary Fanning Kirchhoefer, LinkedIn, available at, https://www.linkedin.com/in/mary-fanning-
kirchhoefer-583a181b/.
119
    Alan Jones, LinkedIn, available at https://www.linkedin.com/in/alan-jones-07a69b5/.
120
    The Betrayal Papers, The American Report (March – April 2015), available at,
https://theamericanreport.org/the-betrayal-papers/ (Ex. 286).


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       •   In 2017, “Fanning” and Jones began spewing a new conspiracy theory: people within
           the U.S. intelligence community had used a “supercomputer” called the “Hammer” to
           spy on then-candidate Donald Trump.121

       •   In August 2020, “Fanning” and Jones self-published a book claiming that people in the
           Obama Administration had commandeered the “supercomputer” in order to spy on
           political opponents, including Donald Trump, and that the investigation that resulted in
           the Mueller Report and President Trump’s first impeachment was a “Deep State”
           coverup for the alleged domestic surveillance done using the “supercomputer.”122

       •   As the 2020 presidential election neared, “Fanning” and Jones repurposed their
           conspiracy theory for the upcoming election, claiming that the “Hammer” and a
           software program called “Scorecard” would be used to steal the election from
           Trump.123

       •   “Fanning” and Jones relied on Dennis Montgomery as the source for the “Hammer and
           Scorecard” conspiracy theory they promoted.124 Montgomery is a facially unreliable
           source for a number of reasons, including but certainly not limited to:

              o Montgomery claims to have invented the so-called “Hammer” supercomputer
                and the “Scorecard” software. But he also claimed to U.S. intelligence agencies
                that he had invented software that could decode secret messages in Arabic-
                language news broadcasts. After his too-good-to-be-true technology was
                revealed to be exactly that, he is now considered to be the “maestro behind what
                many current and former U.S. officials and others familiar with the case now
                believe was one of the most elaborate and dangerous hoaxes in American
                history.”125

              o Montgomery also convinced disgraced former Maricopa County Sheriff Joe
                Arpaio to pay him $120,000 for “computer data” that Montgomery claimed


121
    Mary Fanning & Alan Jones, THE HAMMER is the Key to the Coup “The Political Crime of
the Century”: How Obama, Brennan, Clapper, and the CIA spied on President Trump, General
Flynn … and everyone else (Aug. 19, 2020), available at, https://www.amazon.com/HAMMER-
Coup-Political-Crime-Century-ebook/dp/B08GCC689D (Ex. 287).
122
    Id.
123
    Mary Fanning & Alan Jones, Biden Using SCORECARD and THE HAMMER To Steal
Another U.S. Presidential Election – Just Like Obama And Biden Did In 2012, The American
Report (Oct. 31, 2020), available at, https://theamericanreport.org/2020/10/31/biden-using-
scorecard-and-the-hammer-to-steal-another-u-s-presidential-election-just-like-obama-and-biden-
did-in-2012/ (Ex. 288).
124
    Id.
125
    Travis Daub, How a Reno casino con man duped the CIA and pulled on the of the ‘most
dangerous hoaxes’ in American History, PBS (Oct. 14, 2014), available at,
https://www.pbs.org/newshour/nation/reno-casino-conman-pulled-greatest-hoax-american-
history (Ex. 289).


                                               36
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                   would “show an illegal conspiracy between the U.S. Department of Justice and
                   federal judges,” a claim that was deemed by local officials to be “bogus.”126

       •     The “Hammer and Scorecard” conspiracy theory sourced from Montgomery and
             promoted by “Fanning” and Jones on The American Report blog was publicly
             debunked by Trump appointee and election security expert Chris Krebs and other
             credible sources.127

       75.      Nevertheless, despite the obvious unreliability of the sources, in a pair of January

15, 2021 tweets, Lindell cited The American Report conspiracy theory blog and claimed, “Here

are the pages of the machine voter fraud evidence that came out last week”128 and “Here is one

page of hundreds that prove President Trump got around 79m votes to 68m votes for Biden!”129




126
    Morgan Loew, Emails show Arpaio paid informant at least $120,000 for ‘bogus data,’
AZFamily (Oct. 6, 2016), available at, https://www.azfamily.com/news/investigations/emails-
show-arpaio-paid-informant-at-least-120-000-for-bogus-data/article_0a36974b-8dda-525f-ad83-
8ccdcd385609.html (Ex. 290); Will Sommer, Infamous ‘Hoax’ Artist Behind Trumpworld’s New
Voter Fraud Claim, The Daily Beast (Nov. 8, 2020), available at,
https://www.thedailybeast.com/infamous-hoax-artist-behind-trumpworlds-new-voter-fraud-claim
(Ex. 291).
127
    Chris Krebs (@CISAKrebs), Twitter (Nov. 7, 2020), available at,
https://twitter.com/CISAKrebs/status/1325188644966117376 (Ex. 292); Jon Greenberg,
Debunking the ‘Hammer and Scorecard’ election fraud conspiracy theory, PolitiFact (Nov. 10,
2020), available at, https://www.politifact.com/factchecks/2020/nov/10/pamela-
geller/debunking-hammer-and-scorecard-election-fraud-cons/ (Ex. 293); Angelo Fichera &
Saranac Hale Spencer, Bogus Theory Claims Supercomputer Switched Votes in Election,
FactCheck.org (Nov. 13, 2020), available at, https://www.factcheck.org/2020/11/bogus-theory-
claims-supercomputer-switched-votes-in-election/ (Ex. 294).
128
    Mike Lindell (@realMikeLindell), Twitter (Jan. 15, 2021), previously available at,
https://twitter.com/realMikeLindell/status/1350297812668477441 (Ex. 295).
129
    Mike Lindell (@realMikeLindell), Twitter (Jan. 15, 2021), previously available at,
https://twitter.com/realMikeLindell/status/1350298525549137921 (Ex. 296).


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                               Mike Lindell tweets from January 15, 2021.

       76.     The American Report story and purported “evidence” referenced in Lindell’s tweets

are not the “proof” or “evidence” of “machine voter fraud” that Lindell falsely claimed they were.

While the story falsely claims that “Dominion Voting Services [sic] is based in Toronto”—in fact,

Dominion Voting Systems is based in Denver, Colorado—it does not contain any reference to

machine voter fraud. Near the end of the story, purported “raw data analytics” appear in a pixelated

screenshot of a spreadsheet. The screenshot purports to show IP addresses of election hackers and

their targets, locations of allegedly compromised machines, the time each hack allegedly took

place, and the number of votes that were allegedly stolen from Donald Trump in the hack.

       77.     Notably, while the native spreadsheet itself would contain metadata, potentially

revealing highly relevant information about its creator and creation, all of that metadata has been

concealed from viewers of the screenshot. Nor does The American Report story itself reveal any




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information about who created the spreadsheet or their expertise or motives for doing so. And

while Lindell’s tweets falsely suggest that the “analytics” were generated by an expert in voting

machines and election security, the intentional concealment of the source and metadata strongly

suggests that the purported “analytics” were actually manufactured by someone with dubious

motives they did not want revealed.

        78.      As best as it can be made out, The American Report’s theory appears to be that

votes were tampered with at transfer points between the state election computer system and

external third-party data election result vaults. But that theory does not hold up: First, votes are

first captured at the local level, and then local jurisdictions report their votes to the state. If hacking

had taken place at the state level, it would have been detected because those numbers are verified

by the local results and documented on paper ballots. Second, every ballot tabulator is required

by law to produce a paper printout summarizing the vote totals for the ballots it counted. So if

fraud had affected the reporting process, it would have been detected by reviewing the paper

printouts from the tabulators.

        79.      Other obvious problems with The American Report’s “analytics” include:

        •     Of the 13 purported “hacks,” only one instance of supposed vote switching would have
              changed the candidate who received the most votes in any given county. That locality
              is Leelanau County, Michigan, where 8,795 votes were cast in favor of Biden, and
              7,916 were cast for Trump.

        •     Almost 20% of the counties listed in the screenshot did not even use Dominion
              machines in the 2020 election.

        •     The screenshot claims that 1,108 votes were stolen from Trump in Luce County,
              Michigan, and switched to Biden. In reality, Trump received the majority of votes in
              this county, and Biden’s vote total was only 556 – approximately half the number of
              votes that were supposedly switched to him.

        •     Trump received the majority of votes in four of the counties where the screenshot
              purports to show votes being stolen: Churchill County, Nevada; Douglas County,
              Nevada; Luce County, Michigan; and Coweta County, Georgia.



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       •     One of the “targets” that supposedly owned the relevant machines was the “secretary
             of state offices.” As a preliminary matter, voting machines are in local voting precincts
             and not with the state official. Moreover, this target is the only one without an IP
             address listed – a series of asterisks are present in the IP address field.

       •     Dominion’s voting machines were not connected to the internet during the vote
             tabulation process, and therefore it is impossible for there to have been any network
             traffic between them and any other device during vote tabulation.

       80.      But The American Report’s “raw data analytics” screenshot is not merely flawed—

it is fraudulent. The “data” in that screenshot was apparently manufactured by identifying the

publicly available IP addresses for various government websites and publicly available

international IP addresses of visitors to those websites on or around election day, by generating

fake MAC addresses using a free online service, and by making up totals of flipped votes in those

counties.

       81.      First, the IP addresses in the “Target” IP address field are falsely represented as IP

addresses for voting machines in counties where votes were allegedly flipped. But in reality, each

“Target” IP address in The American Report screenshot is the IP address of either the main website

or a sub-website of a county in a swing state—information that is publicly available using any

number of widely available and free online databases—and not any voting machine or device.

       82.      Second, the IP addresses in the “Source” IP address field are falsely represented as

IP addresses for the location where alleged vote manipulation originated. But just as with the

“Target” IP addresses, the “Source” IP addresses can be found using any number of publicly

available subscription services designed to monitor and provide reports of website traffic—

including the IP addresses of visitors—to specific websites. The American Report screenshot’s

“Source” IP address field was apparently populated with cherry-picked international IP addresses

from one such subscription monitoring service’s website traffic report or from traffic reports from

unrelated entities, and not with actual instances of hacks or vote manipulations.



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       83.     Next, The American Report screenshot was populated with completely fabricated

media access control (MAC) addresses,130 identified in the sheet as the “ID” columns, for both the

“Source” device—where the supposed hack originated—and “Target” device—the supposed

voting machine that was hacked.        The first six digits of a MAC address are called an

organizationally unique identifier (OUI), which identifies the manufacturer of the device,131 and

OUIs and MAC addresses are registered with and administered by the Institute of Electrical and

Electronics Engineers (IEEE).132

       84.     A basic MAC address and OUI search of each of the “IDs” noted in this report

shows that none of them are real.

       85.     The first Source ID noted on the screenshot is a3:95:ad:69:22:c4 and the first

“Target” ID—allegedly owned by “Allegheny county of elections” in Pennsylvania—is

2e:b5:65:57:b9:57. A search of IEEE’s registration database yields no search results for either

MAC address.133 And in any event, Allegheny County did not use Dominion machines in the 2020

election.




130
    A MAC address is a unique hardware identification number for a specific device on a specific
network and cannot be changed. MAC addresses are made up of six two-digit hexadecimals
(combinations of the numbers 0-9 and letters a-f) separated by colons. See MAC Address
Definition, TechTerms, available at, https://techterms.com/definition/macaddress (Ex. 297).
131
    See Definition, Organizational Unique Identifier, PC Magazine, available at,
https://www.pcmag.com/encyclopedia/term/oui (Ex. 298).
132
    See IEEE SA – Registration Authority, available at, https://standards.ieee.org/products-
services/regauth/index.html (Ex. 299).
133
    See IEEE Registration Authority: Assignments, Search Results, available at,
https://regauth.standards.ieee.org/standards-ra-web/pub/view.html#registries (Ex. 300).


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          86.   While it is possible that a MAC address may not exist in IEEE’s database, every

OUI (which identifies the manufacturer of the device and would be identified by the first 6 digits

of each “ID”) must be registered with IEEE. For the first “Source” and “Target” on the “raw data

analytics” screenshot, those OUIs are a3:95:ad and 2e:b5:65, respectively. However, just like with

the MAC addresses, a search of IEEE’s database shows that these OUIs are fake.134




134
      See id.


                                               42
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       87.     Furthermore, no two OUIs in The American Report’s screenshot are the same. In

other words, according to The American Report’s “data,” every Dominion machine on the list was

manufactured by a different (nonexistent) manufacturer.

       88.     There are numerous online tools available to create mass amounts of fake MAC

addresses. For example, the website macaddress.io has a “MAC address generator” that allows

any visitor to the website to “Generate random MAC addresses with specified parameters,”

including “How many” fake MAC addresses the user wants to generate, the “Format,” and even

the “Letter case” of the fake addresses.135



135
   See MAC address generator, macaddress.io, available at, https://macaddress.io/mac-address-
generator.


                                              43
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       89.    Instead of MAC addresses for actual voting machines, The American Report’s “raw

data analytics” screenshot is populated with fake MAC addresses.

       90.    Finally, The American Report screenshot is populated with the “amount” of votes

that were supposedly stolen. Of course, having been populated with fake MAC addresses for both




                                              44
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the “Source” and “Target” devices and publicly available IP addresses of county government

websites (not any voting machines), these “amounts” are also fraudulent.

       91.     Despite the fact that he has “done his own due diligence,” “hired his own experts,”

and “seen the evidence himself,” Lindell has repeatedly failed to produce any evidence—other

than the fraudulent “analytics” screenshot from The American Report conspiracy theory blog.136

Indeed, following an interview with NBC News, when asked to produce evidence supporting his

claims, Lindell replied in an email: “All the evidence against Dominion is before the Supreme

Court. … Here is one page of the proof.”137 NBC reported that “[t]he email did not include an

attachment. When asked if he had mistakenly omitted it, Lindell sent another email with an empty

attachment and a third with screenshots of illegible text.”138

  News Outlets That Receive Ad Dollars from MyPillow Give Mike Lindell a Global Platform
              Even Though They Know His Claims About Dominion Are False

       92.     After the Big Lie had been repeatedly disproven by hand recounts of paper ballots

and after some of Lindell’s allies—like Sidney Powell and Rudy Giuliani—had been de-

platformed by Fox News for peddling the lie,139 several media outlets—including Fox News—

continued to give Lindell a global platform because they wanted to receive MyPillow ad dollars.



136
    See e.g., Ex. 260 3:58-4:02 (Tr. at 6:2–3) (“I know what evidence is out there, plus I’ve done
my own due diligence.”); Ex. 236 at 41:18–24 (Tr. at 37:10–13) (“What I’ve seen and what I
know … I know what evidence is there.”).
137
    Elisha Fieldstadt, MyPillow CEO Mike Lindell says products were dropped from major
retailers after voter fraud claims, NBC News (Jan. 19, 2021), available at,
https://www.nbcnews.com/news/us-news/mypillow-ceo-mike-lindell-says-products-were-
dropped-major-retailers-n1254676 (Ex. 301).
138
    Id.
139
    See e.g., Jeremy Barr, Rudy Giuliani and Sidney Powell have disappeared from Fox airwaves,
Wash. Post (Jan. 14, 2020), available at, https://www.washingtonpost.com/media/2021/01/14/giu
liani-sidney-powell-fox-dominion/ (Ex. 302) (“Rudy Giuliani and Sidney Powell have
disappeared from Fox airwaves”); Cullen Paradis, What Happened To Sidney Powell And Rudy
Giuliani? Fox Drops Lawyers Amid Lawsuits, Int’l Bus. Times (Jan. 15, 2021), available at,
https://www.ibtimes.com/what-happened-sidney-powell-rudy-giuliani-fox-drops-lawyers-amid-


                                                 45
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       93.     On January 20, 2021—Inauguration Day—Lindell gave a televised interview on

the Victory Channel’s FlashPoint, falsely claiming he had seen “machine fraud” and that “just in

Fulton County, it shows 24,000 votes flipped inside the machine.”140 During that interview,

Lindell also promoted MyPillow and offered viewers a promo code “MIKE,” which he assured

viewers would provide up to 66% off and allow Lindell to use the profits “for good.”141




               Mike Lindell appears on the Victory Channel’s FlashPoint on January 20, 2021,
               and a chyron promoted the use of the promo code “MIKE” on MyPillow.com.

       94.     The day after the inauguration, during a podcast interview on Steve Bannon’s War

Room: Pandemic, Lindell falsely claimed that Dominion machines were “the biggest cheat, the

biggest steal.”142 When asked what level of confidence he had in the evidence in his possession,

Lindell responded “One hundred percent. I told the president I’d take everything I have in the

world and put it on the line.” Bannon retorted: “Note to self, you are putting it all on the line.”



lawsuits-3123327 (Ex. 303) (“After weeks of pushing an election fraud narrative, Fox News
abruptly dropped Trump lawyers Sidney Powell and Rudy Giuliani.”).
140
    FlashPoint: Do Not Give Up! SPECIAL with Hank Kunneman, Dutch Sheets and Mike
Lindell! at 24:50–55, 31:28–31 (Tr. at 22:6–7, 28:14, 35:14), The Victory Channel (Jan. 20,
2021), available at, https://www.youtube.com/watch?v=25BAJnfkAQA&t=1s (Ex. 304).
141
    Id. at 38:43–52 (Tr. at 35:14).
142
    The My Pillow Movement at 34:48–54 (Tr. at 30:23–24), War Room: Pandemic (Jan. 21,
2021), available at, https://pandemic.warroom.org/2021/01/21/ep-672-pandemic-the-my-pillow-
story-w-mike-j-lindell/ (Ex. 305).


                                                    46
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Bannon continued, cautioning Lindell that “ever since Dominion has started dropping lawsuits”

Lindell’s “cohort” has been silent.     Lindell responded that he welcomed a lawsuit from

Dominion.143 Lindell did not produce the evidence he claimed to be “one hundred percent”

confident in.

       95.      On January 26, 2021, Lindell was banned from Twitter.144 The following week,

MyPillow’s Twitter account was banned because Lindell had tried to use it to evade the ban on his

personal account.145

       96.      Despite the fact that Fox News’s Tucker Carlson had previously acknowledged that

Lindell’s ally, Sidney Powell, had failed to produce any evidence of machine fraud in the election,

on January 26, 2021, Fox News and Tucker Carlson knowingly broadcast that same lie to a global

audience by inviting Lindell—one of their biggest financial backers—to repeat the lie on Tucker

Carlson Tonight. In exchange for MyPillow ad dollars, Fox News and Tucker Carlson introduced

Lindell as “the CEO of MyPillow” and endorsed Lindell’s lies that he “found” the “machine fraud”

and “ha[s] all the evidence”—which Lindell did not produce on the show.146 In addition, Lindell

falsely claimed that Dominion had “hired hit groups, bots and trolls” to “cancel” him; Tucker

Carlson—without asking for any evidence for that false claim or otherwise fact-checking it in any




143
    Id. at 35:40–36:03, 37:30–47, 39:50–53 (Tr. at 31:24–32:7, 34:6–15, 37:1).
144
    Brakkton Booker, My Pillow CEO Mike Lindell Permanently Suspended From Twitter, NPR
(Jan. 26, 2021), available at, https://www.npr.org/2021/01/26/960679189/my-pillow-ceo-mike-
lindell-permanently-suspended-from-twitter (Ex. 306).
145
    Nicole Lyn Pesce, Twitter has permanently banned the corporate MyPillow account after
founder Mike Lindell posted it, Market Watch (Feb. 2, 2021), available at,
https://www.marketwatch.com/story/twitter-has-permanently-banned-the-corporate-my-pillow-
account-after-founder-mike-lindell-posted-from-it-11612286764 (Ex. 307).
146
    Tucker Carlson Tonight, Fox News at 18:35–42 (Tr. at 6:11–12) (Jan. 26, 2021), available at,
https://video.foxnews.com/v/6226912408001/#sp=show-clips (Ex. 308).


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way—unquestioningly accepted and endorsed his biggest sponsor’s lie before Fox News broadcast

it to millions of viewers.




                 Mike Lindell appears on Tucker Carlson Tonight on Fox News on January 26,
                 2021, and a chyron reads “MyPillow CEO.”

       97.     On January 28, 2021, one of MyPillow’s other financial beneficiaries—

Newsmax—jumped to curry favor with its patron, claiming Lindell was being “targeted” because

“[d]uring the election he stood up for what he believed,” and telling its viewers to “support him

by buying one of his great pillows or related products.”147

       98.     Five days later, Newsmax gave Lindell an interview to discuss the fact that Twitter

had banned Lindell’s account for spreading election disinformation and then had banned

MyPillow’s corporate account because Lindell had used it to circumvent the ban on his personal

account. Newsmax knew that the discussion of those bans was an invitation to have Lindell repeat

the Big Lie that had gotten Lindell banned from Twitter in the first place. For weeks prior to that,

Newsmax had broadcast defamatory falsehoods about Dominion. And Newsmax was fully aware

at this point that the Big Lie was in fact a lie, as evidenced by Newsmax’s own prior “clarifying”



147
   Mike Lindell Targeted, Help Him Today!, Newsmax (Jan. 28, 2021), available at,
https://www.newsmax.com/newsfront/mike-lindell-mypillow-
boycott/2021/01/28/id/1007643/?dkt_nbr=6F1212ijpd0s (Ex. 309).


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segment on the topic.148 Newsmax had broadcast that segment because it was worried about being

sued for defamation—not because it cared about the truth. If Newsmax cared about the truth, it

would not have broadcast the Big Lie again after issuing the “clarifying” segment. But, unwilling

to lose MyPillow ad dollars and seeking to protect its credibility with people it had already misled

into believing the election was stolen, Newsmax bowed to the pressure and gave its financial

backer a global platform to repeat the Big Lie that Newsmax knew was false—and to market

MyPillow. Foreseeably, Lindell—introduced with the chyron “CEO, MyPillow”—said “we have

all this election fraud with these Dominion machines. We have 100% proof.” Newsmax anchor

Bob Sellers interjected by reading a legal disclaimer that was clearly drafted beforehand by

Newsmax lawyers in a calculated attempt to shirk responsibility for what Newsmax knew Lindell

would say on air. Lindell shouted over Sellers, saying that Twitter had banned him “because I’m

reviewing all the evidence on Friday of the election fraud with all these machines.” Despite

Sellers’s on-air plea to Newsmax to “get out of here,” Newsmax did not cut Lindell’s mic, and

Sellers walked off set.149




      Mike Lindell appears on Newsmax on February 2, 2021 where, after a few minutes, Bob Sellers walks off set.



148
    Facts About Dominion, Smartmatic You Should Know, Newsmax (Dec. 19, 2020), available
at, https://www.newsmax.com/us/smartmatic-dominion-voting-systems-software-
election/2020/12/19/id/1002355/ (Ex. 310).
149
    Christopher Cadelago (@ccadelago), Twitter (Feb. 2, 2021), available at,
https://twitter.com/ccadelago/status/1356724249201938433?s=20 (Ex. 311).


                                                         49
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       99.    Later that night, Newsmax invited Lindell back to smooth things over, market

MyPillow, and lend further credibility to Lindell and the Big Lie about Dominion. Rob Schmitt

acknowledged the earlier interview and told Lindell, “obviously you were on the network earlier

in the day and we made some waves there. We’ll leave it at that. But you and Newsmax have

always had a good relationship.”150 Newsmax again promoted the Big Lie by giving Lindell a

platform to say, in reference to the earlier interview where he had said he had “100% proof” of

“fraud with the Dominion machines,” that he would have “something coming out on Friday that

is going to really help, a documentary I have put together.” When asked how the Twitter ban had

impacted MyPillow’s business, Lindell said “Everyone is buying, and we are so busy, we are so

busy, we are hiring. We have over 102 products, it is not just pillows anymore. Customers have

always stepped up right now. It’s amazing. Just like Newsmax did.” Schmitt responded, “No

kidding, my parents have one of your pillows in fact.” Lindell then pitched MyPillow and told

viewers they could still use “the promo code ‘Newsmax’ on MyPillow.com to save up to 66%.”151




              Mike Lindell appears on Rob Schmitt Tonight on Newsmax on February 2, 2021,
              and tells viewers to visit “MyPillow.com” and use promo code “Newsmax.”



150
    Rob Schmitt Tonight at 28:54-29:00 (Tr. at 6:12-13), Newsmax (Feb. 2, 2021), available at,
https://www.newsmaxtv.com/Shows/Rob-Schmitt-Tonight/vid/1_q1nk8yyd (Ex. 312).
151
    Id. at 26:34-38, 28:00-13 (Tr. at 3:9-13, 5:7-15).


                                                  50
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       100.   In a further show of Newsmax’s priorities—groveling fealty to big sponsors over

regard for the truth—Newsmax also broadcast a segment of Bob Sellers calling Lindell “a friend

of this network” and referencing “vote fraud in the recent election,” “a topic we have covered

extensively on Newsmax.”152 Sellers continued: “In hindsight, there is no question I could have

handled the end of the interview differently… Mike also made clear he thinks Newsmax is great—

his words—and I can tell you he will continue being an important guest on Newsmax.”153

Newsmax then replayed a portion of Lindell’s “interview” by Rob Schmitt the night before,

including the portion where Lindell plugged his forthcoming “documentary” promoting the Big

Lie about Dominion.

          Lindell Produces and OAN and RSBN Broadcast a Sham “Docu-movie,”
             Knowing Full Well That the Film is Full of Lies About Dominion

       101.   On February 4, 2021, Dominion sent Lindell a letter detailing numerous red flags

and flaws in the “raw data analytics” from The American Report conspiracy theory blog, and again

putting Lindell on formal written notice of numerous specific facts discrediting Russell Ramsland

and his bogus “forensics report” on Antrim County, Michigan.154 The letter also referred Lindell

to Dominion’s defamation complaint against Rudy Giuliani, which set forth the flaws in

Ramsland’s Antrim County report in greater detail and also explained in detail how a series of

human errors by the Antrim County Clerk—not machine fraud—had caused the unofficial result

in that county to indicate a win for Biden before the mistake was promptly caught as part of the

normal canvass process.155



152
    Newsmax TV’s Bob Sellers addresses the Mike Lindell situation at 0:08–0:26 (Tr. at 2:7-14),
YouTube (Feb. 3, 2021), available at,
https://www.youtube.com/watch?v=NoQXsgv8UUM&feature=youtu.be (Ex. 313).
153
    Id. at 0:32–0:57 (Tr. at 2:16–3:1).
154
    Letter from T. Clare and M. Meier to M. Lindell (Feb. 4, 2021) (Ex. 314).
155
    Id. citing Dominion v. Giuliani at paras. 55-70.


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       102.    Later that day, after receiving and reading Dominion’s letter, Lindell appeared for

a televised interview on FlashPoint and claimed he was being attacked “because I have all this

evidence coming out … When I went on there, the Dominion people had threatened Newsmax.

Nobody could go on there and talk about all this evidence that I have or talk about the machines.

… Well, everything that’s been attacking me in my whole life right now is because I’ve got this

documentary coming out with all the evidence. … They’ve threatened networks … to suppress

what actually happened in our country that was attacked from another country. And it’s all coming

out tomorrow.”156 Later in the program, the host promoted MyPillow, saying, “We want to put up

a promo code. … We want you to go support Mike Lindell. MyPillow.com use promo code

‘FLASH.’ … You want to make sure you go there and support. We’ve got to support patriots,

folks. This is where, when I said earlier in the monologue, ‘We have to stand up’ – this is part of

standing. I don’t care if you don’t need a pillow. Go order one and give it to somebody else. But

we’ve got to support each other because this is the life and death of America….”157




156
    FlashPoint: Absolute Truth, You NEED to Hear This! with Mike Lindell, Doug Wead, and
Mario Murillo at 26:18–27:54 (Tr. at 2:9–3:20), The Victory Channel
(Feb. 4, 2021), available at, https://www.youtube.com/watch?v=LxYh24Zd0Cs&amp%3Bfeatur
e=youtu.be (Ex. 343).
157
    Id. at 32:34-33:09 (Tr. at 8:20-9-5).


                                                52
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                 MyPillow is promoted during an interview of Mike Lindell on FlashPoint
                 on February 4, 2021.

       103.    After the FlashPoint host had implored people to buy a MyPillow to prevent the

“death of America,” Lindell continued by describing the “raw data analytics” from The American

Report conspiracy theory blog.158 He knew that document was not reliable because, earlier that

day, he had received and read Dominion’s letter pointing out red flags and numerous errors in it.

Despite knowing that, Lindell knowingly deceived the audience, falsely claiming the document

was “a cyber footprint from inside the machines” that was “going to show that Donald Trump

won.”159 Lindell also claimed that he was being attacked because he was going to show the

evidence in a two-hour documentary called “ABSOLUTE PROOF” the following day, and

encouraged people to share the documentary as widely as possible.160




158
    Id. at 34:10-35:42 (Tr. at 10:8-11:20).
159
    Id. at 35:23-26, 37:34 (Tr. at 11:12–13, 13:15–16).
160
    Id. at 36:31-37:08 (Tr. at 14:13–19).


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                 Mike Lindell promotes his forthcoming documentary “ABSOLUTE
                 PROOF” during an episode of FlashPoint on February 4, 2021.

       104.     The next day, on February 5, 2021, Lindell broadcast the sham “docu-movie” that

he had previously advertised on Newsmax and FlashPoint, and for which he was an executive

producer. Lindell posted the “docu-movie” to his own website, michaeljlindell.com, and posted

directly beneath the embedded video an ad for viewers to purchase his book, Against All Odds,

with the “Promo Code PROOF.” The ad linked directly to the MyPillow website, where visitors

were met with a “$10 OFF” coupon and could receive 40% off a MyPillow by using the promo

code “Proof.”




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       105.    In an attempt to disseminate the disinformation to the largest possible audience,

Lindell also purchased 26 hours of airtime on OAN to broadcast the film thirteen times from

February 5 to February 8, 2021. In addition, Lindell teamed up with Steve Bannon and OAN for

an “OAN Special on Election Fraud,” in which, on February 11, 2021, OAN broadcast

“ABSOLUTE PROOF” again, interspersed with an interview of Lindell by Bannon.

       106.    OAN was fully aware that Lindell’s “docu-movie” was full of lies, but—like Fox

News, Newsmax, and others—was content to deceive its viewers in exchange for ad dollars. In a

calculated attempt to avoid defamation liability for the lies it was about to knowingly broadcast to

a global audience, OAN played a disclaimer effectively admitting that OAN knew Lindell’s claims

were false but trying to pass them off as “opinions” and brazenly claiming—contrary to months of

OAN’s false reporting on Dominion, which had caused millions of Americans to question the

results of the Presidential election—that the assertions in the sham “docu-movie” were not adopted

or endorsed by OAN. The disclaimer read:




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                                              DISCLAIMER

               Michael James Lindell has purchased the airtime for the broadcast of this
               program on One America News (“OAN”) network. Mr. Lindell is the sole
               author and executive producer of this program and is solely and exclusively
               responsible for its content. The topic of this broadcast is the 2020 election.
               OAN has undertaken its own reporting on this topic. This program is not
               the product of OAN’s reporting. The views, opinions and claims expressed
               in this program by Mr. Lindell and other guests, presenters, producers, or
               advertisers are theirs, and theirs alone and are not adopted or endorsed by
               OAN or its owners. In particular, OAN does not adopt or endorse any
               statements or opinions in this program regarding the following entities or
               people: US Dominion, Inc. (and any related entities); Smartmatic USA
               Corp; Brian Kemp; Brad Raffensperger; or Gabriel Sterling. Further, the
               statements and actions expressed in this program are presented at this time
               as opinions only and are not intended to be taken or interpreted by the
               viewer as established facts. The results in the 2020 Presidential election
               remain disputed and questioned by millions of Americans who are entitled
               to hear from all sides in order to help determine what may have happened.

       107.    In stark contrast to OAN’s barely legible fine-print disclaimer that the film

contained “opinions” “not intended to be taken or interpreted by the viewer as established facts,”

on its official Twitter feed, OAN explicitly endorsed and promoted the film as a “report breaking

down election fraud evidence & showing how the unprecedented level of voter fraud was

committed in the 2020 Presidential Election.”161




161
   One America News (@OANN), Twitter (Feb. 4, 2021), available at,
https://twitter.com/OANN/status/1357533963707842560 (Ex. 315) (emphasis added).


                                                56
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      108.   Moreover, the film’s title proclaimed to viewers that it contained “ABSOLUTE

PROOF” “Exposing Election Fraud and the Theft of America by Enemies Foreign and Domestic.”




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          109.   RSBN also accepted MyPillow ad dollars to deceive its viewers, and posted

Lindell’s “ABSOLUTE PROOF” film to its homepage along with a MyPillow ad and a “Behind

The Scenes Look Inside the My Pillow Factory.”162




 RSBN’s homepage on February 8, 2021, features a MyPillow banner ad, Lindell’s “ABSOLUTE PROOF” film,
 and a “Behind the Scenes Look Inside The My Pillow Factory.”



162
      Right Side Broadcasting Network, https://rsbnetwork.com/.


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       110.      In addition to being broadcast on OAN, RSBN, and michaeljlindell.com, the “docu-

movie” was also broadcast by the WVW Broadcast Network and posted to Lindell’s Facebook

account, where Lindell promoted the production and implored viewers to “Watch and share with

everyone!!”163




       111.      “ABSOLUTE PROOF” opens with a MyPillow pitch dressed up as a grievance by

Lindell—who has a personal net worth of $300 million and whose MyPillow business is the busiest

it has ever been—that he and MyPillow were being “boycott[ed]” and “attacked” “relentlessly.”


163
   Mike Lindell, Brannon Howse And Mary Fanning Present: Absolute Proof: Exposing
Election Fraud and The Theft of America by Enemies Foreign and Domestic, World View
Weekend (Feb. 5, 2021), available at, https://www.worldviewweekend.com/tv/video/mike-
lindell-brannon-howse-and-mary-fanning-present-absolute-proof-exposing-election-fraud;
https://www.worldviewweekend.com/absolute-proof (Ex. 316); Michael J Lindell, Facebook
(Feb. 5, 2021), available at, https://www.facebook.com/realMikeLindell/posts/119253685453493
6 (Ex. 317).


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The obvious implication of the message is that viewers should buy MyPillow products to stick it

to “cancel culture” and to support Lindell’s efforts to overturn the election.




                          Scenes from the beginning of “ABSOLUTE PROOF.”

       112.    The MyPillow “docu-movie” continues with Lindell saying that the “deviations that

happened on election night” did not “ma[ke] any sense,” despite the fact that Lindell knew that

Trump had discouraged his supporters from voting by mail while Democrats had done the opposite

and that there had been human error by the county clerk—not machine fraud—in Antrim

County.164

       113.    Then—despite the fact that Dominion had previously written to him and

specifically pointed out red flags and errors in the fake “raw data analytics” screenshot from the

conspiracy theory blog—Lindell knowingly lied to his audience about that document, claiming it

was “a piece of evidence that’s 100% proof, it’s like a print of inside the machine with the

timestamp that showed other countries attacking us, hacking into our election through these

machines, and it shows the votes flipped.”165




164
    Absolute Proof – Mike Lindell Election Documentary (FULL) at 00:55-1:00 (Tr. at 2:20-21),
Rumble (Feb. 5, 2021), previously available at, https://rumble.com/vdlbl7-absolute-proof-mike-
lindell-election-documentary-full.html (Ex. 319).
165
    Id. at 1:19-35 (Tr. at 3:5-9).


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          114.   Knowing full well that claims of widespread election fraud had been rebutted by

Trump appointee and then-Attorney General Bill Barr following investigations by the Department

of Justice and the Department of Homeland Security, Lindell and his featured guests in

“ABSOLUTE PROOF” seek to discredit Barr by repeatedly and falsely claiming there had been

no investigation and by insinuating that Barr was “corrupt” and had been “compromised.”166

          115.   And, despite the fact that Dominion had previously written to Lindell and pointed

out specific facts from the public domain thoroughly discrediting the “Deep State” conspiracy

theorist Russell Ramsland, Lindell’s “docu-movie” also features Ramsland claiming—against a

backdrop of ominous music—that it was a “stolen election.”167




          116.   Notably, Russell Ramsland appears to be one of the earliest promoters of the kinds

of lies that are now being told about Dominion: he began making similar claims years before the

2020 election, when Pete Sessions—a staunch Trump supporter—lost to a Democrat in a 2018

election in Dallas, Texas. While Ramsland had in 2015 been the leading contender to challenge




166
      Id. at 21:06-20, 46:40-55, 1:54:43-47 (Tr. at 21:22-22:5, 45:23-46:1, 124:24-125:3).
167
      Id. at 31:15-22 (Tr. at 31:15-19).


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Pete Sessions in a Republican primary for a congressional seat,168 in 2018, Ramsland began

alleging that his former rival had been deprived of his rightful seat in Congress by vote-flipping

machines in that Dallas election. Notably, though, that election was not handled by Dominion,

but by its competitor, ES&S.

        117.   In Lindell’s “docu-movie,” Ramsland repeats the story he began telling years ago—

that voting machines in Texas flipped votes and stole the election from Pete Sessions in Dallas in

2018 and improperly purged votes in Dallas and Harris County just before the 2020 election.

However, since ES&S and Hart InterCivic systems (not Dominion systems) had been used in

Texas—and since Trump won Texas in the 2020 election—Lindell and Ramsland deliberately

revised that story to make it fit the false preconceived narrative they wanted to tell about the 2020

election.169

        118.   In the film, Lindell and Ramsland also fail to address the fact that Ramsland’s story

about the Texas voting machines actually undermines their current claim that Trump won the 2020

election: if Ramsland’s story were true, that would cast doubt on Trump’s wins in Texas and



168
    Gromer Jeffers, Jr., Tea party activists mobilize for another shot at Pete Sessions, The
Dallas Morning News (July 9, 2015), available at, https://www.dallasnews.com/news/politics/20
15/07/09/tea-party-activists-mobilize-for-another-shot-at-pete-sessions/ (Ex. 318).
169
    See, e.g., How the U.S. Election Assistance Commission Facilitates Fair and Secure Elections,
EAC, available at, https://www.eac.gov/news/2020/12/03/how-us-election-assistance-
commission-facilitates-fair-and-secure-elections/ (Ex. 141) (“Before voting machines and election
management systems are used in elections, the systems undergo rigorous hardware and software
testing by laboratories accredited by the EAC and the National Institutes of Standards and
Technology (NIST). The testing encompasses security, accuracy, functionality, accessibility,
usability, and privacy based on requirements in the EAC’s Voluntary Voting System Guidelines
(VVSG)”); Frequently Asked Questions, EAC, available at, https://www.eac.gov/voting-
equipment/frequently-asked-questions (Ex. 129) (“the test labs will examine the source code to
ensure compliance with the voluntary voting system guidelines”); Testing & Certification
Program Manual, Version 2.0, EAC (May 31, 2015), available at, https://www.eac.gov/sites/defa
ult/files/eac_assets/1/28/Cert%20Manual%207%208%2015%20FINAL.pdf (Ex. 219) (the
[Voting System Test Laboratory] must complete the source code review of the software delivered
from the manufacturer for compliance with the [Voluntary Voting System Guidelines]”).


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several swing states that used the same machines as Texas. But Lindell’s film does not attack the

results in states that Trump won, of course; doing so would have undermined the false

preconceived narrative that was helping him sell pillows. In addition, Ramsland’s claim—that

Texas used corrupt vote-flipping machines—directly undermines the notion that Texas represents

the gold standard for certifying voting machine companies or would otherwise have grounds to

challenge how other states had conducted their elections, something which Texas sought to do

until that frivolous bid was summarily rejected by the United States Supreme Court, including

three Trump-appointed justices.

          119.   Lindell’s “docu-movie” also features Ramsland claiming “[w]e developed huge,

tons of absolute proof on this, but no court case was ever allowed, ever allowed it to be presented…

But it does exist. It’s out there. It’s unbelievable. It’s massive.” Instead of displaying the “huge,

tons of absolute” “unbelievable” “massive” “proof” or referring to a website where the public and

experts could scrutinize the “proof” for themselves, at this point, the film features animated

graphics of green text moving quickly across a black screen and a stylized image of earth from

space, along with a claim from Ramsland that he had seen undisclosed “data that is supposedly

representative.”170




                        Graphics from Lindell’s “docu-movie” “ABSOLUTE PROOF.”


170
      Ex. 319 at 31:15-52 (Tr. at 32:23-33:3).


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          120.    Despite the fact that Lindell was well aware from Dominion’s prior correspondence

of the publicly available sources documenting what had really happened in Antrim County,

Michigan (human error, not corrupt vote-flipping machines) and of numerous errors thoroughly

debunking Ramsland’s credentials and his so-called “forensics report” on Antrim County,

Lindell’s “docu-movie” deliberately deceives viewers by calling Ramsland’s debunked report “a

perfect report,” falsely holding Ramsland out as a “forensic expert on these particular machines,”

and deliberately lying about what had actually happened in Antrim County, Michigan, falsely

claiming that “7,060” votes “were flipped from Trump to Biden… by the machines.”171

          121.    Lindell’s “docu-movie” also features Ramsland claiming to have information on

“two other” unidentified counties that he claims were “even worse than Antrim” but—rather than

disclosing that “proof”—claims “there are reasons we aren’t publishing that information right

now.”172 Lindell then jumps to explain: the reason Ramsland cannot disclose the information is

“because every time something pops up, it gets buried out there,” and the information is getting

“suppressed.”173 (To this day, Lindell’s “docu-movie” remains publicly available on OAN, RSBN,

the WVW Broadcast Network, michaeljlindell.com, and Lindell’s Facebook page, but it appears

that Ramsland’s mystery “proof” on two other counties has not been posted to those websites.)

          122.    To further prop up his false claim that Dominion machines weighted votes against

Trump, Lindell’s “docu-movie” features a person identified as “Dr. Shiva” and holds him out as

the inventor of email.




171
      Id. at 33:02-35:48, 1:16:54-56, 1:21:39-41, 1:13:24-35 (Tr. at 35:10-25, 87:9, 92:17, 82:16-83-
4).
172
      Id. at 35:06-24 (Tr. at 35:10-16).
173
      Id. at 35:25-48 (Tr. at 35:17-25).


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                     Shiva Ayyadurai appears in Lindell’s “docu-movie”
                     “ABSOLUTE PROOF.”

       123.    “Shiva” is actually the first name of Shiva Ayyadurai. If Lindell’s “docu-movie”

chyron had disclosed Ayyadurai’s last name to its viewers, they could have easily Googled

“Shiva Ayyadurai” and gotten the same information that Lindell almost certainly knew from the

“due diligence” Lindell repeatedly bragged about having performed.         Specifically, while

Shiva Ayyadurai’s personal website is inventorofemail.com, email was actually invented by the

U.S. government’s Advanced Research Projects Agency when Ayyadurai was still in grade

school.174 “Dr. Shiva” is not a medical doctor, but he has urged people to treat COVID-19 with

Vitamin C.175 And while Ayyadurai claimed that “Massachusetts Destroy[ed] Over 1 MILLION

ballots” in a race he lost in the 2020 Massachusetts Republican primary for U.S. Senate176—the



174
    See Statement from the National Museum of American History: Collection of Materials from
V.A. Shiva Ayyudurai, Smithsonian (Feb. 23, 2012), available at,
https://americanhistory.si.edu/press/releases/statement-national-museum-american-history-
collection-materials-va-shiva-Ayyadurai (Ex. 320).
175
    See, e.g., Ryan Broderick, A YouTube Video Accusing Dr. Anthony Fauci Of Being Part Of
The Deep State Has Been Viewed Over 6 Million times In A Week, BuzzFeed News (Apr. 15,
2020), available at, https://www.buzzfeednews.com/article/ryanhatesthis/youtube-anthony-fauci-
deep-state-coronavirus (Ex. 321).
176
    See Fact check: Massachusetts election officials have not destroyed ballots or committed
election fraud, Reuters (Oct. 2, 2020), available at, https://www.reuters.com/article/uk-
factcheck-election-ballot-massachuset/fact-check-massachusetts-election-officials-have-not-
destroyed-ballots-or-committed-election-fraud-idUSKBN26N2AF?edition-
redirect=uk (Ex. 322).


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fact is that, since 2000, the most votes cast in a single Republican Senate primary in Massachusetts

was only 280,000.177

       124.    Lindell’s “docu-movie” also features Mellissa Carone, who previously gained

international infamy because Rudy Giuliani had to “shush” her for leveling unhinged accusations

at Republican officials in Michigan who asked her follow-up questions about her dubious claims.

Before Lindell featured Carone in his “docu-movie,” a judge determined that Carone’s accusations

were “simply not credible”178 and Carone accepted a guilty plea after being charged with computer

crimes and providing false information to law enforcement officers.179




                       Mellissa Carone appears in Lindell’s “docu-movie”
                       “ABSOLUTE PROOF.”

       125.    Later in the “docu-movie,” Lindell states: “This Dominion. These machines are

the biggest fraud in election—they stole this, but now the truth is all going to be revealed.”180 An

hour and a half into the program, Lindell states: “Well, everyone, this is the moment you’ve all



177
    See Secretary of the Commonwealth of Massachusetts, U.S. Senate Primary Election Results
2000 - 2020, available at, https://electionstats.state.ma.us/elections/search/year_from:2000/year_t
o:2020/office_id:6/stage:Primaries (Ex. 323).
178
    See Op. & Order at 7, Constantino v. City of Detroit, No. 20-014780 (Mich. 3d Jud. Dist. Ct.
Nov. 13, 2020).
179
    Mary Kay Linge, GOP Michigan recount witness took plea deal on harassment charge:
report, N.Y. Post, (Dec. 5, 2020), available at, https://nypost.com/2020/12/05/trump-witness-
took-plea-deal-on-harassment-charge-report/ (Ex. 324).
180
    Ex. 319 at 1:30:55-31:04 (Tr. at 102:22-25).


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been waiting for. What you’re going to see now is 100% proof that we had upon our country, the

biggest cyber-attack in history. And I’m going to bring on Mary Fanning to explain how it all

happened and then show you the 100% proof.”181

          126.    Mary Fanning Kirchhoefer—the Trump Campaign donor and retired homemaker

behind The American Report conspiracy theory blog, who was also previously the registered agent

for a now-dissolved Illinois entity called ABSOLUTEPROOF LLC—was, together with Lindell,

an “executive producer” for the “ABSOLUTE PROOF” “docu-movie.” Unlike the other featured

guests, she elected not to appear for the interview over video or photograph or otherwise show her

face at any point during the program.

          127.    In the “docu-movie” for which they were both “executive producers,” Lindell and

“Fanning” claim that they have “thousands of pages,” “100% proof,” and “historic proof” of

“election fraud” and “foreign intrusion into our election.”182 But rather than posting the “proof”

in native spreadsheet form on a website where it—and its metadata—could be scrutinized by the

public and real experts in election security, Lindell and “Fanning” chose to have the “docu-movie”

show scrolling footage of the fake “raw data analytics” that “Fanning” had previously excerpted

on her conspiracy theory blog and a purported representation of those “analytics”—a multi-colored

cartoon animation of a world map, purporting to show votes being sent overseas and stolen in real-

time.




181
      Id. at 1:36:3-20 (Tr. at 108:12-18).
182
      Id. at 1:42:1-2, 1:43:06, 1:43:31-39 (Tr. at 113:13, 114:17, 115:3-5).


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               Scenes of the “100% proof” and “historic proof” from “ABSOLUTE PROOF.”

       128.    But just like with the “raw data analytics” screenshot posted to The American

Report blog, this scrolling footage was comprised of the same doctored and fraudulent data—the

extracted and publicly available IP addresses of county government websites and generated fake

MAC addresses for both the “SOURCE” and “TARGET” owners.

       129.    As a former professional card counter and self-described “numbers guy” with

experience with algorithms, Lindell was well aware that the “analytics” and cartoonish world map

graphic were fake and did not show votes being sent overseas or manipulated. Lindell was also

well aware—from Dominion’s correspondence citing reliable publicly available sources—that

hand recounts of paper ballots had confirmed the accuracy of the vote tallies from Dominion

machines, conclusively disproving the notion that the vote tallies in the Dominion tabulators had

been manipulated overseas or otherwise. In addition, before Lindell had broadcast the “docu-

movie,” Dominion had already written to him and pointed out numerous glaring red flags and

errors in the purported “analytics;” Dominion also offered to review any purported “evidence”

Lindell intended to offer in the documentary beforehand “so that we can point out the red flags

and other obvious errors that have plagued all of the other purported ‘evidence’ that has been put




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forward against Dominion.”183 Lindell purposefully avoided giving Dominion an opportunity to

review the world map cartoon before broadcast, plainly because he knew it was fake.

       130.    Toward the end of the program, Lindell implores his audience: “Now, you’ve all

seen absolute proof of the biggest cyber-attack in history. We right now, it’s a takeover of our

country. We all see it happening. And now you see the proof, where it came from, what happened.

We all need to go out now each and every one of you and tell your friends, family, people, your

social media, spread this out everywhere.”184

       131.    On February 19, 2021, Lindell appeared on Rudy Giuliani’s podcast to tout

“ABSOLUTE PROOF,” boasting that it had been seen by 100 million people worldwide, with an

average view time of one hour and 53 minutes.185 Appearing with the chyron “Founder and CEO,

MyPillow,” Lindell stated that he was coming out with two new movies, including a shorter

version of “ABSOLUTE PROOF,” and bragged that his new videos “will be like whack-a-mole

for ‘em.”186 “ABSOLUTE PROOF” remains available online to a global internet audience in

multiple locations.

                      Lindell Benefits at Dominion’s Expense Because
         People Believed Lindell’s Fake “Proof” and Bought MyPillows Because of It

       132.    Although the “proof” in Lindell’s “ABSOLUTE PROOF” “docu-movie” was

mocked by many, countless people were duped by Lindell’s “proof” and sent the multimillionaire

some of their hard-earned money for MyPillow products.




183
    Letter from T. Clare and M. Meier to M. Lindell (Feb. 4, 2021) (Ex. 314).
184
    Ex. 319 at 1:57:44-58:04 (Tr. at 128:4-11).
185
    CANCEL CULTURE: Return Of The Salem Witch Trials? at 27:14-41, Rudy Giuliani’s
Common Sense (Feb. 19, 2021), available at, https://www.youtube.com/watch?v=FkvvtuVsyUA
&list=PLlMn0a7NgIUZIGjQVofrk1M3Ulqdc7_-4&index=5.
186
    Id. at 26:55-27:14.


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       133.    For example, on a Rumble post of Lindell’s “docu-movie” promoting the Big Lie

about Dominion, one person wrote “Let’s all buy Pillows directly from Mike we all need new

pillows I am buying 6 when I get my first paycheck at my new job.”187




       134.    Another viewer commented underneath the link to the film: “I just purchased $250

of mypillow stuff directly from mypillow.com.”188




       135.    Another viewer commented on the film: “I will be a loyal Mypillow customer now

for the rest of my life. Mike Lindell is a hero, he’s a hardworking brilliant American Patriot who

has risked everything and made incredible sacrifices for the sake of this country.”189




187
    Comments, Absolute Proof – Mike Lindell Election Documentary, Rumble (Feb. 5, 2021),
previously available at, https://rumble.com/vdlbl7-absolute-proof-mike-lindell-election-
documentary-full.html (Ex. 345).
188
    Id.
189
    Id.


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        136.    On Lindell’s Facebook post of the “docu-movie,” one person wrote “I bought

pillows last night just for the hell of it! #teamlindell.”190




        137.    After Facebook added a disclaimer that the contents of Lindell’s film contained

“false information,” one person wrote “You’re the man Mike! FB is a liar! Oh and I bought 2 my

pillows today! Don’t even care it’s going to take a while to receive them just happy to support your

company…”191




        138.    On a tweet asking if anyone had watched Lindell’s film, one person commented:

“Watched it earlier…It’s awesome and damning to the left. Praise God for Mike Lindell! Going

to buy me a few pillows tonight. It is absolute proof.”192




190
    Michael J Lindell, Facebook (Feb. 5, 2021), available at,
https://www.facebook.com/realMikeLindell/posts/1192536854534936 (Ex. 317).
191
    Id.
192
    Willi-73 (@Willi_556), Twitter (Feb. 5, 2021), available at,
https://twitter.com/Willi_556/status/1357784366311763968 (Ex. 325).


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        139.    Another person on Twitter commented “Let’s support the mypillow man the leftist

want to silence since he has all the facts about the 2020 fraud. Watch Lindels documentary on

wvwtv called Absolute Proof and share with everyone you know that Commy China changed our

election results.”193




193
   Emma Right (@emmabeliever), Twitter (Feb. 5, 2021), available at,
https://twitter.com/emmbeliever/status/1357848819468095489 (Ex. 326).


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       140.    Lindell began benefitting at Dominion’s expense even before producing and

broadcasting his “ABSOLUTE PROOF” “docu-movie.” Indeed, every time Lindell was called

out for making false claims about Dominion, his business “would go up anywhere from 10 to 30%”

because, as Lindell has explained, “everybody on the Right buys more, they buy more to support

the cause.”194 As a result of the defamatory marketing campaign against Dominion, MyPillow

sales are up 30 to 40% and MyPillow is the busiest it has ever been.195

       141.    After his January 16, 2021 appearance on RSBN where Lindell falsely claimed

“[evidence] shows the number of votes flipped,” one Twitter user wrote: “I just bought a mypillow!

… Mike Lindell @realMikeLindell is a patriot and a man of God and he deserves our support.

@RSBNetwork’s code gets you 60% off!”196




194
    RSBN (@RSBNetwork) at 21:55-22:10 (Tr. at 19:15-17), Twitter (Jan. 16, 2021), available
at, https://twitter.com/RSBNetwork/status/1350559453343490048 (Ex. 272) (“RSBN’s
@brianglenntv exclusive interview with @realMikeLindell on his White House visit and the next
4 years”).
195
    RSBN’s Exclusive with Mike Lindell Part 2 at 12:03-04 (Tr. at 11:20-22), RSBN (Jan. 18,
2021), available at, https://rumble.com/vczx1t-rsbn-exclusive-interview-with-mike-lindell-part-
2.html (Ex. 258); MyPillow CEO Mike Lindell Joins John Di Lemme LIVE on the Biden Scam
Series at 20:54-56 (Tr. at 20:22-23), Conservative Bus. Journal (Dec. 11, 2020), available at,
https://www.conservativebusinessjournal.com/podcast/mypillow-ceo-mike-lindell-biden-scam-
series/ (Ex. 237); Why Now is the Time to Stand Up for America at 8:12-18 (Tr. at 10:2-3),
ThriveTime Show (Dec. 23, 2020), available at, https://www.thrivetimeshow.com/business-
podcasts/mike-lindell-the-my-pillow-founder-why-now-is-the-time-to-stand-up-for-america-the-
freedoms-we-enjoy-and-president-donald-j-trump/ (Ex. 235).
195
    Id.
196
    Skyler (@TheTexasSky), Twitter (Jan. 16, 2021), available at,
https://twitter.com/TheTexasSky/status/1350579439504142336 (Ex. 327).


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       142.    After Dominion asked Lindell to retract his false claims about the company, Lindell

told the media he wanted Dominion to sue him, and another Twitter user wrote: “Support

@realMikeLindell he is fighting for #theTruth with his time, and his own money… buy!! buy!!

buy!! from #MyPillow at MyPillow.com.”197




197
   Is it #2024 yet (@sbrandel777), Twitter (Jan. 19, 2021), available at,
https://twitter.com/sbrandel777/status/1351573949319098375 (Ex. 328).


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       143.   One person wrote, “I support Mike Lindell! @realMikeLindell was in every rally

and in every event alongside the American people, he is a huge Patriot who is being hunted by the

Democrats. We must support it!” Another person retweeted that tweet, writing: “We must try to

support our fellow Patriots before supporting those who wish to enslave us like big tech and

amazon. Buy something from mypillow guy!”198




198
   Patriots Resolve (@Lying_MSM), Twitter (Jan. 17, 2021), available at,
https://twitter.com/Lying_MSM/status/1350669185399967744 (Ex. 329).


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       144.    After his January 21, 2021 appearance on Steve Bannon’s War Room: Pandemic,

where Lindell claimed he had “new evidence” of the “biggest steal,”199 one person wrote:

“@realMikeLindell #MyPillowGuy is on #SteveBannon #WarRoomPandemic right now. I think

I’ll buy another #MyPillow and a set of sheets today.”200




199
    The My Pillow Movement at 34:55-35:02, 37:20-28 (Tr. at 34:1, 30:24), War Room:
Pandemic (Jan. 21, 2021), available at, https://pandemic.warroom.org/2021/01/21/ep-672-
pandemic-the-my-pillow-story-w-mike-j-lindell/ (Ex. 305).
200
    Hoosier Mama (@Someth75740529), Twitter (Jan. 21, 2021), available at,
https://twitter.com/Somethi75740529/status/1352298967183339532 (Ex. 330).


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       145.    Another person wrote: “Mike Lindell is defeating Satan with a pillow fight. He’s

spending millions collecting evidence of dominion voting systems election fraud. New info keeps

coming. Use code ‘Mike’ for a discount on mypillow.com.”201




       146.    Another wrote: “Mike Lindell’s message this morning about engaging the fight

against the Dominion fraud is about getting involved. I ordered 10 of his books, to help him, and




201
   President-Elect Dr. Julie (@Julie22319872), Twitter (Jan. 21, 2021), available at,
https://twitter.com/Julie22319872/status/1352295480395505666 (Ex. 331).



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will send them to 10 friends. I’ll encourage them to do likewise. EVERYONE can help Mike win

this one! Get involved!”202




       147.    Similarly, another user wrote: “Mike Lindell of MyPillow is being targeted for his

stand on voter fraud & Dominion voting machines. … Go to MyPillow & use promo code Mike.

Support him!”203




       148.    After Lindell’s January 26, 2021 appearance on the Fox News show Tucker Carlson

Tonight, during which Lindell falsely claimed that Dominion hired “hit groups and bots” to go


202
    Richard J. Giordano (@drgioman), Twitter (Jan. 21, 2021), available at,
https://twitter.com/drgioman/status/1352331241438269443 (Ex. 332).
203
    JesusisLord! (@LovemyNationUSA), Twitter (Jan. 21, 2021), available at,
https://twitter.com/LovemyNationUSA/status/1352424276721328130 (Ex. 333).



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after his business, one person wrote: “Buy mypillow products today. The mypillow guy is being

attacked by evil leftists. Go to mypillow.com and spend heavily.”204




       149.   Another user wrote: “ALL PATRIOTS go out and BUY 10 new @MyPillowUSA

… I LOVE #MyPillow!!! We LOVE @mikelindel.”205




       150.   MyPillow’s defamatory marketing campaign made such an impact, that one user

wrote: “Made an executive decision today. IF another stimulus check is sent out, no matter how


204
    Peter Jongsma (@Peter_Jongsma), Twitter (Jan. 26, 2020), available at,
https://twitter.com/Peter_Jongsma/status/1354116030558253058/photo/1 (Ex. 334).
205
    Susan C (@SusanC95978943), Twitter (Jan. 27, 2021), available at,
https://twitter.com/SusanC95978943/status/1354515040473395209(Ex. 335).


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much it is, it’s going to buy me a MyPillow Mattress Topper! Going to use some of that money

to support Mike!”206




       151.   After the Newsmax interview where Bob Sellers walked off the set while Lindell

repeated the Big Lie about Dominion, one user wrote: “Mike Lindell is a true Patriot and an

American hero for standing up for the truth. I’m buying more pillows using discount code

NEWSMAX #ElectonFraudHappened #MikeLindell #MyPillowGuy #MyPillow.”207




206
    2 Wheel Traveler (@2whltrvlr), Twitter (Feb. 2, 2021), available at,
https://twitter.com/2whltrvlr/status/1356805947180658688 (Ex. 336).
207
    Jason Campbell (@JasonSCampbell), Twitter (Feb. 3, 2021), available at,
https://twitter.com/ProMomLife/status/1356883540974198785 (Ex. 337).



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       152.   In addition to using the Big Lie to sell pillows, Lindell has also sold about 300,000

copies of his book in the last three to four weeks alone.208 The hardcover version of his book

currently retails for $19.99 on Amazon.209




208
    CANCEL CULTURE: Return Of The Salem Witch Trials? at 27:46-57, Rudy Giuliani’s
Common Sense (Feb. 19, 2021), available at, https://www.youtube.com/watch?v=FkvvtuVsyUA
&list=PLlMn0a7NgIUZIGjQVofrk1M3Ulqdc7_-4&index=5.
209
    What are the Odds?, Amazon, available at, https://www.amazon.com/What-Are-Odds-Crack-
Addict/dp/1734283408/ref=tmm_hrd_swatch_0?_encoding=UTF8&qid=&sr=.


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          153.   In addition to boosting pillow and book sales, Lindell’s lies about Dominion have

also likely yielded another benefit of extraordinary value: Trump’s expected endorsement of

Lindell’s potential bid to be the governor of Minnesota, which Lindell is “99% sure” he will run

for.210

                                Dominion Suffers Enormous Harm

          154.   As a result of the false accusations disseminated to a global audience by Lindell,

his allies, and like-minded media outlets—who acted in concert to promote a false preconceived

narrative about the 2020 election—Dominion has suffered unprecedented reputational and

financial harm, and its employees’ lives have been put in danger.

          155.   Because of death threats and other threatening messages prompted by the lies told

by Lindell and his allies, Dominion has made significant expenditures to protect its people from

harm—including by employing on-site police and security. Since the beginning of the viral

disinformation campaign, Dominion has spent more than $565,000 on private security for the

protection of its people.

          156.   As a direct result of the viral disinformation campaign, Dominion has been forced

to make significant expenditures in an attempt to mitigate the harm to its reputation and business.

To date, Dominion has incurred expenses of more than $1,170,000 to that end.

          157.   Dominion is a for-profit company that provides local election officials with tools

they can use to run elections. It generates revenue by selling voting technology services to elected



210
   Jack Phillips, MyPillow Creator Could Run for Governor of Minnesota, Claims Trump
Endorsement, The Epoch Times (Jan. 25, 2021), available at,
https://www.theepochtimes.com/mypillow-creator-could-run-for-governor-of-minnesota-claims-
trump-endorsement_3670725.html (Ex. 338); Theodore Bunker, Mike Lindell to Newsmax TV:
‘99 Percent Sure’ About Running for Minnesota Governor (Oct. 1, 2020), available at,
https://www.newsmax.com/newsmax-tv/mike-lindell-minnesota-governor-
democrats/2020/10/01/id/989875/ (Ex. 339).


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officials from both political parties. It contracts with state and local governments to provide its

voting systems and services in a majority of states across the country. Those contracts are typically

multi-year contracts and range from tens of thousands of dollars to over a hundred million dollars,

depending on the jurisdiction and scope of the contract. Given the nature of the U.S. election

system and the voting services industry, Dominion’s contracts have historically been long term

with high renewal rates. In 2020, state and local election officials and bipartisan poll workers in

28 “red” and “blue” states administered their elections by using Dominion’s tabulation devices to

count paper ballots.

          158.   Dominion has suffered harm nationwide.            For example, since the viral

disinformation campaign began, state legislators in various states in which Dominion has

contracts—including Florida, Louisiana, Michigan, and Pennsylvania—have stated their intent to

review and reassess those contracts. They have done so because of pressure from constituents and

donors. Indeed, Lindell himself recently stated that “70% of the people believe this was a

fraudulent election.”211

          159.   As illustrated in the examples above, as a result of the viral disinformation

campaign, Dominion has been unfairly subjected to the hatred, contempt, and distrust of tens of

millions of American voters, and the elected officials who are Dominion’s actual and potential

customers have received emails, letters, and calls from their constituents demanding that they

avoid contracting with Dominion or using Dominion machines. As a result, elected officials,

insurers, and potential investors have been deterred from dealing with Dominion, putting

Dominion’s contracts in more than two dozen states and hundreds of counties and municipalities

in jeopardy and significantly hampering Dominion’s ability to win new contracts. Based on



211
      Ex. 272 at 14:38-40 (Tr. at 13:11-2).


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Dominion’s historic financial track record, contract pipeline, retention and renewal rates, and new

business capture rates, as well as the nature, severity, pervasiveness, and permanence of the viral

disinformation campaign, current projections show lost profits of $200 million over the next five

years, when reduced to present value.        In addition, the viral disinformation campaign has

irreparably damaged Dominion’s reputation and destroyed the resale value of a business that was

worth between $450 million and $500 million before the viral disinformation campaign.

               Lindell Has Given Dominion No Choice but to Bring This Lawsuit

        160.    After Dominion repeatedly put Lindell on formal written notice of specific facts

and evidence disproving his false claims, and let him know that the lies were putting people’s lives

in danger, Lindell repeated his lies and said, “I welcome them to come after me because I’ve got

all the evidence and then they’ll finally see it,”212 and “I dare Dominion to sue me, because then it

will get out faster.”213

        161.    Although Lindell has repeatedly claimed he has “evidence” proving that Dominion

rigged the election, he has repeatedly failed to make any real evidence available for public scrutiny.

Instead, as Dominion employees face death threats and hate mail and Dominion faces the potential

destruction of its business, Lindell—a multimillionaire whose MyPillow sales have never been

better—has put forward fake evidence and sought to enrich himself even more by claiming that he

is the victim of “cancel culture” and that Dominion wants to hide the truth.

        162.    Enough. Facts matter. The truth matters. Dominion brings this lawsuit so that the

truth—including Lindell’s knowing lies and dubious motives—can be proven in a court of law,




212
   Ex. 258 at 12:47-50 (Tr. at 12:11-12).
213
   Tucker Carlson Tonight at 18:57-58 (Tr. at 6:19-20), Fox News (Jan. 26, 2021), available at,
https://video.foxnews.com/v/6226912408001/#sp=show-clips (Ex. 308).


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where rules of evidence apply and where allegations that find favor in the sphere of public gossip

and innuendo are not a substitute for proof.

                           COUNT ONE – DEFAMATION PER SE
                                (Against All Defendants)

       163.     Dominion repeats and re-alleges each of the foregoing paragraphs as if set forth

fully herein.

       164.     As set forth above in detail, in the course of his business as MyPillow’s CEO and

agent, Lindell published false statements about Dominion with actual malice. By December 12,

2020 at the very latest, Lindell knew or recklessly disregarded that his statements about Dominion

rigging the election and using algorithms to manipulate vote counts were false. Intentionally

disregarding Trump’s tweets discouraging his supporters from voting by mail and CISA’s and

Attorney General Bill Barr’s determination that there was no evidence of machine fraud in the

election, Lindell set out to make the facts conform to a false preconceived narrative that the

election had been stolen from Trump. Lindell pushed this false narrative even though there was

no evidence to support it because he had learned from his knowledge of game theory and prior

experience—scoring Trump’s endorsement for MyPillow, getting great returns on ad dollars spent

on conservative media platforms, and profiting from deceptive ads making claims unsupported by

evidence—that lying about Dominion would be good for MyPillow’s bottom line and would lead

to other benefits, including, for example, Trump’s anticipated endorsement for Lindell’s run for

governor of Minnesota. In search of “evidence” to bolster MyPillow’s defamatory marketing

campaign, Lindell teamed up with Sidney Powell and Lin Wood, two facially unreliable sources

who misrepresented, manufactured, and cherry-picked evidence to put on their fundraising website

and whose sham litigation had all been dismissed—and whose sources were judicially determined

to be “wholly unreliable”—by December 9, 2020. By January 8, 2021, Lindell actually knew that



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his statements about Dominion using algorithms to manipulate vote counts were false because, in

addition to the above evidence, his allies in the media (including networks where MyPillow

advertises heavily) had de-platformed Powell and Giuliani for making those claims and purported

to “clarify” their previous reporting on the Big Lie; in addition, Dominion had sent Lindell a letter

and a copy of the Powell complaint and exhibits, specifically directing Lindell to the publicly

available facts and evidence disproving the Big Lie. And, by February 4, 2021, Lindell actually

knew—from Dominion’s letter—that the “raw data analytics” from The American Report

conspiracy theory blog and the so-called “forensics report” from conspiracy theorist Russell

Ramsland were riddled with red flags and glaring errors.

       165.    Despite all this, Lindell made the following false and defamatory statements of fact

about Dominion:

              (a) On December 12, 2020, Lindell appeared as “MyPillow CEO” at the Women for
                  America First rally in Washington, D.C., and falsely stated:

                               On election night, at 11:15 p.m., all the algorithms that were set
                               across our country in the machines … where Biden got like 1.2 votes
                               for every vote and our president got .66. … 80 million votes that
                               came in for our great President … broke the algorithms in the
                               machines.214




214
   Women for America First Rally at 2:51:09-38 (Tr. at 4:14-22), C-SPAN (Dec. 12, 2020),
available at, https://www.c-span.org/video/?507234-1/women-america-rally (Ex. 255).


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              (b) On December 12, 2020, Lindell appeared as “My Pillow CEO” at the Jericho
                  March in Washington, D.C., and falsely stated:

                             Everything that I’ve been telling you for three weeks now is true. I
                             have seen it. The fraud is 100% and Donald Trump will be our
                             president for four more years. … They tried to steal this election. …
                             on election night at 11 o’clock. … At 11:15, the algorithms of these
                             machines that cheated the whole country could not keep up.
                             Because he had got so many votes that broke the algorithms … The
                             technology of these Dominion machines … it’s all going to be
                             exposed in the future. … Georgia, you better have a fair election
                             and not use those machines.215




              (c) On December 17, 2020, Lindell appeared as “CEO, My Pillow, Inc.” on the
                  Newsmax program, Stinchfield, with Newsmax personality Grant Stinchfield,
                  and falsely stated:

                             [O]n election night. … [a]t 11:15 … they realized that all the
                             algorithms broke in all those Dominion machines and that Donald
                             Trump was going to win the election despite all of the cheating…
                             this election was stolen … It was stolen at 11:15 on election
                             night. … This is a complete fraud and Donald Trump will be our
                             president. …216


215
    Mike Lindell opens the Jericho March, Dec 12 at 0:50-1:01, 6:32-8:20 (Tr. at 2:11-14, 6:20-
25, 7:4-7, 7:20, 8:4-10), Jericho March (Dec. 12, 2020), available at,
https://app.videosquirrel.app/watch/1812 (Ex. 256).
216
    Mike Lindell to Newsmax TV: ‘President Trump will Prevail’ at 0:50-1:08, 3:49-4:15 (Tr. at
2:19-25, 5:23, 6:6-7), Newsmax (Dec. 17, 2020), available at,


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              (d) On December 19, 2020, Lindell tweeted the following false statement:

                             These were the most corrupted states with the most machine vote
                             theft! Yes Minnesota we actually won by 65,000 votes!217




https://www.newsmax.com/newsmax-tv/mike-lindell-election-fraud-mypillow-
ceo/2020/12/17/id/1002145/ (Ex. 260).
217
    Mike Lindell (@realMikeLindell), Twitter (Dec. 19, 2020), previously available at,
https://twitter.com/realMikeLindell/status/1340500092462182400 (Ex. 341).


                                               88
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             (e) On December 19, 2020, Lindell tweeted the following false statement:

                             The election was 1.2 for every Biden vote - .78 for every Trump
                             vote!218




218
   Mike Lindell (@realMikeLindell), Twitter (Dec. 19, 2020), previously available at,
https://twitter.com/realMikeLindell/status/1340493282011475968 (Ex. 340).


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             (f) On December 21, 2020, Lindell tweeted the following false statement:

                             Millions of votes were stolen by dominion machines!219




219
   Mike Lindell (@realMikeLindell), Twitter (Dec. 21, 2020), previously available at,
https://twitter.com/realMikeLindell/status/1341233672729583617 (Ex. 265).


                                              90
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             (g) On December 21, 2020, Lindell appeared as “CEO, MyPillow” on the Newsmax
                 program, Greg Kelly Reports, with Newsmax personality Sebastian Gorka, and
                 falsely stated:

                             The biggest fraud is the Dominion machines.220




             (h) On December 23, 2020, Lindell appeared as “Inventor and CEO, MyPillow” on
                 the Victory Channel’s FlashPoint and falsely stated:

                             Now, let’s talk about Dominion.… On election night, at 11:15, it
                             broke the algorithms in those Dominion machines. Because they
                             knew that the machines realized that even with them set at 1.2 and
                             .8 for the President, Donald Trump was going to win anyways… it
                             would have hit upwards of 80 million votes… the algorithms broke.
                             … And all of the deviations, some of them are mathematical
                             impossibilities. … This is the biggest crime ever committed in
                             election history against our country and the world. … I know all the
                             fraud that’s there. It’s 100% the Dominion machines that flipped
                             millions of votes, millions upon millions. … Everybody needs to
                             know that election fraud, that it was real, and that we are going to
                             expose it.221




220
    Mike Lindell to Newsmax TV: ‘American Dream’ is on the Line at 3:29-32 (Tr. at 5:3-24),
Newsmax (Dec. 21, 2020), available at, https://www.newsmax.com/newsmax-tv/mike-lindell-
election-lawsuits-american-dream/2020/12/21/id/1002635/ (Ex. 263).
221
    FlashPoint: Stand Firm! Mike Lindell, Hank Kunneman and Mario Murillo at 8:55-11:52,
29:57-30:05, 31:12-17 (Tr. at 9-11, 27:15-18, 28:19-21), The Victory Channel (Dec. 23, 2020),
available at, https://www.youtube.com/watch?v=kPhpPLknmBw (Ex. 236).


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             (i) On December 23, 2020, Lindell appeared as the “MyPillow Founder” on the
                 ThriveTime Show and falsely stated:

                            At 11:15 on election night. … These guys had set up these
                            machines, you know, whether it is 1.2 to Biden and .8 to Donald
                            Trump. … I don’t know the exact number within a — you know,
                            within one point… So what happened was, because of our great
                            President… [who received the] most votes ever for a sitting
                            president in US history…As these votes poured in, these machines,
                            he was going to win anyways despite of all the cheating… At 11:15,
                            it broke the algorithms in the machine. … That doesn’t count the
                            Dominion machines. The Dominion machines which I’ve focused
                            on. … The biggest crime ever committed.222




222
   Why Now is the Time to Stand Up for America at 13:38-16:53 (Tr. at 17-19, 20:19-20, 21:14-
15), ThriveTime Show, (Dec. 23, 2020), available at, https://www.thrivetimeshow.com/business-
podcasts/mike-lindell-the-my-pillow-founder-why-now-is-the-time-to-stand-up-for-america-the-
freedoms-we-enjoy-and-president-donald-j-trump/ (Ex. 235).


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             (j) On December 27, 2020, Lindell tweeted the following false statement:

                             The truth of all the election fraud is all going to come out! 1.2
                             Biden… .80 President Trump (biggest election crime ever!)
                             Everyone will then know @realDonaldTrump won by 6m votes!223




             (k) On January 5, 2021, Lindell was advertised as the “Founder, My Pillow” and
                 appeared at the Moms for America “Save the Republic Rally” in Washington,
                 D.C. and falsely stated:

                             Here’s what happened on election night. … There were 9 silos of
                             fraud … The biggest silo was the machines, the Dominion machines.
                             … Well on the night of the election the Dominion machines, and
                             there’s these other machines too. They’re very related. … Well on
                             11:15 on election night, this is when the miracle happened. The
                             machines — Donald Trump, as he was — they underestimated all
                             of you, myself, and everybody, the votes he was going to get. And
                             these votes came in and at that moment in time, these machines the
                             algorithms broke. … what those machines were set at is like a 1.26
                             for Biden .74 for Donald Trump so you see that you know if every
                             time you get a vote you know it was it was the teeter-totter went to
                             this side. … The fraud was blatant.224



223
    Mike Lindell (@realMikeLindell), Twitter (Dec. 27, 2020), previously available at,
https://twitter.com/realMikeLindell/status/1343199095863832577 (Ex. 267).
224
    Mike Lindell mentions possible ‘civil war’ during pro-Trump rally at U.S. Capitol on January
5, 2021 at 1:29-3:43 (Tr. at 2-4), YouTube (Jan. 5, 2021), previously available at,


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             (l) On January 5, 2021, Lindell, who was introduced as the “Founder and CEO of
                 MyPillow, Inc.,” appeared for an interview with Roy Fields, where he falsely
                 stated:

                            Here, I’ll take it from the election night. … what happened was the
                            evil that set all this fraud up and this election fraud, they
                            underestimated what he would get for votes, so by 11:15, all these
                            were coming in, and the machines sensed that he was going to win
                            this election. … All of this fraud — and as evidenced, I’ve seen it.
                            … It’s the … most corrupt election in history. … If we don’t get
                            this election fraud out in the open. … They can do whatever they
                            want with those machines. … It was 1.26 for Biden and .74 for
                            Donald Trump. … 450,000 votes were flipped in Arizona. …
                            320,000 votes in Minnesota that flipped.225




https://www.youtube.com/watch?v=s7nIFVLrdIE&feature=youtu.be (last visited Jan. 28, 2021)
(Ex. 254).
225
    Roy Fields Interviews the “MyPillow Guy” Mike Lindell, YouTube (Jan. 5, 2021), available
at, part 1: https://www.youtube.com/watch?v=VVYD49IoTU0; part 2 at 1:10-5:10, 6:00-06,
12:44-46, 14:41-43, 15:14-27, 18:13-34 (Tr. at 42:21-43:10, 44-45, 56:18-19, 59:9-60:9, 63):
https://www.youtube.com/watch?v=ZBLf69TCcR8&t=1557s (Ex. 346).


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              (m) On January 6, 2021, Lindell, from within Washington, D.C., posted a live video
                  to his Facebook page, where he falsely stated:

                             I’ve seen it. It’s — there’s so much fraud that every state’s going to
                             be turned over. It was the biggest election corruption in the history.
                             … [The Georgia senate election] gave us a lot more evidence last
                             night. They did the same exact thing with the machines. … These
                             Dominion Machines, the most corrupt thing in human history, what
                             these machines do: 1.24 to Biden, .76 to Donald Trump.226




226
   Michael J Lindell, Facebook Live at 1:30-42, 3:02-05, 5:50-6:00 (Tr. at 3-4, 4:8-10, 6:17-20)
(Jan. 6, 2021), available at,
https://www.facebook.com/realMikeLindell/videos/244547557235289/ (Ex. 268).


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              (n) On January 7, 2021, Lindell appeared for an interview from Trump International
                  Hotel in Washington, D.C., and falsely stated:

                              On election night at 11:15 … the machines, they broke because the
                              algorithms broke, because Donald Trump would have won anyways
                              in spite of all the fraud.227




              (o) On January 16, 2021, Lindell, who was referred to as the “MyPillow Guy,”
                  appeared on RSBN for an interview with Brian Glenn, and falsely stated:

                              And about 8 or 9 days ago, this proof came out. 100% footprints
                              from the machines of the machine fraud. … [T]his showed that Joe
                              Biden lost, 79 million votes for Donald Trump and 68 million for
                              Joe Biden. [The evidence] shows the number of votes flipped. …
                              You can see how many votes were flipped. … I said this is just a
                              sample, there’s thousands of pages. … [T]his was the biggest
                              election fraud and theft in the history of the world… When a person
                              wins 79 million to 68 million, and you flip that… These machines.
                              They are corrupt. They built them to cheat.228




227
    Exclusive Interview with Mike Lindell today at 1:10-40 (Tr. at 2:20-3:6), Shiloh Tabernacle
Church (Jan. 7, 2021), previously available at, https://vimeo.com/498963091 (last visited on Jan.
25, 2021) (Ex. 271).
228
    RSBN (@RSBNetwork) at 0:29-7:17 (Tr. at 2-3, 4:22-25, 6:6-11, 7:8-9), Twitter (Jan. 16,
2021), available at, https://twitter.com/RSBNetwork/status/1350559453343490048 (Ex. 272)
(“RSBN’s @brianglenntv exclusive interview with @realMikeLindell on his White House visit
and the next 4 years”).


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             (p) On January 18, 2021, Lindell, who was introduced as the “CEO of MyPillow,”
                 appeared for another interview on RSBN, and falsely stated:

                             This is a crime against humanity. … the biggest problem in history
                             to the whole world, and that’s these machines. … You’ve got to start
                             with these corrupt machines. … Because these things are imbedded
                             in the machines, but they were built to cheat. They were built to
                             steal elections.229




229
   RSBN’s Exclusive with Mike Lindell Part 2 at 0:04, 1:11, 4:09-24, 5:00-04, 6:09-14, 22:21-23,
25:17-20, 25:40-42, 26:45-07 (Tr. at 2:24-25, 5:5-10, 6:1-2, 23-25, 22:4-12, 23:10-18), RSBN
(Jan. 18, 2021), available at, https://rumble.com/vczx1t-rsbn-exclusive-interview-with-mike-
lindell-part-2.html (Ex. 258).


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              (q) On January 20, 2021, Lindell appeared as the “Inventor and CEO of MyPillow,”
                  on the Victory Channel’s FlashPoint, and falsely stated:

                             On election night at 11:15, you know, when there were so many
                             votes that came in for Donald Trump that they didn’t expect, it broke
                             the algorithms in the machines. … This particular sheet came from
                             Fulton County, Georgia. … Just in Fulton county it shows 24,000
                             votes flipped inside the machine. … I[’ve] seen this machine fraud
                             … They can program how much you win by, how much you lose
                             by. … they had to change all the algorithms, because Donald Trump
                             was going to win despite all the fraud.230




230
   FlashPoint: Do Not Give Up! SPECIAL with Hank Kunneman, Dutch Sheets and Mike
Lindell! at 20:39-51, 24:50–55, 31:30-35, 40:00-44 (Tr. at 22:6–7, 28:14, 35:14, 36:14-37:5),
The Victory Channel (Jan. 20, 2021), available at,
https://www.youtube.com/watch?v=25BAJnfkAQA&t=1s (Ex. 304).



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             (r) On January 21, 2021, Lindell was introduced as the “CEO of MyPillow” on
                 Steve Bannon’s War Room: Pandemic, and falsely stated:

                             About twelve days ago, this new evidence came out from this other
                             that it was all done through these machines that the — that was the
                             biggest cheat, the biggest steal.231

             (s) On January 23, 2021, Lindell appeared as the “My Pillow – CEO” on The
                 JoePags Show, and falsely stated:

                             [N]ew evidence came out about machine-voter fraud by
                             Dominion.232




231
    The My Pillow Movement at 34:52-35:05 (Tr. at 30:21-25), War Room: Pandemic (Jan. 21,
2021), available at, https://pandemic.warroom.org/2021/01/21/ep-672-pandemic-the-my-pillow-
story-w-mike-j-lindell/ (Ex. 305).
232
    Sen Ted Cruz – Mike Lindell – Rudy Giuliani – Let’s Go! at 2:35:44-48 (Tr. at 7:9-10), The
JoePags Show (Jan. 23, 2021), available at, https://www.twitch.tv/videos/885060174 (Ex. 275).


                                              99
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             (t) On January 23, 2021, Lindell tweeted a link to his defamatory interview on The
                 Victory Channel’s FlashPoint, generating over 500 retweets and over 2,700
                 likes:233




             (u) On January 26, 2021, Lindell who was introduced as the “CEO MyPillow”
                 appeared on Fox News’ Tucker Carlson Tonight, and falsely stated:

                             I have the evidence. … I dare Dominion to sue me because then it
                             will get out faster. … They hired hit groups, bots and trolls went
                             after all my vendors, all these box stores to cancel me out.”234




233
    Mike Lindell (@realMikeLindell), Twitter (Jan. 23, 2021), previously available at,
https://twitter.com/realMikeLindell/status/1352997395928211459 (Ex. 342).
234
    Tucker Carlson Tonight at 17:25-30, 18:38-58 (Tr. at 6:11-22, 5:5-7), Fox News (Jan. 26,
2021), available at, https://video.foxnews.com/v/6226912408001/#sp=show-clips (Ex. 308).


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             (v) On February 2, 2021, Lindell appeared as “CEO, MyPillow” on Newsmax and
                 falsely claimed:

                            [W]e have all this election fraud with these Dominion machines. …
                            I’m reviewing all the evidence on Friday of the election fraud with
                            all these machines.235




             (w) On February 2, 2021, Lindell appeared as “CEO of My Pillow” on the
                 Worldview Weekend Broadcast Network and falsely claimed:

                            We have 100% proof now … on election night, when the algorithms
                            broke on these machines. … All the algorithms broke. … the big
                            attack, and that is through the machines …236




235
    Christopher Cadelago (@ccadelago), Twitter (Feb. 2, 2021), available at,
https://twitter.com/ccadelago/status/1356724249201938433?s=20 (Ex. 311).
236
    Breaking News: Mike Lindell, Brannon Howse, Mary Fanning, Dr. Shiva, Jovan Pulitzer
Announce New Documentary on Cyber-Coup at 6:18-20, 6:37-7:04, 8:17-20 (Tr. at 7:1-2, 7:9-11,
8:22-23), WVW Broadcast Network (Feb. 2, 2021), available at,
https://www.worldviewweekend.com/tv/video/breaking-news-mike-lindell-brannon-howse-
mary-fanning-dr-shiva-jovan-pulitzer-announce-new (Ex. 276).


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             (x) On February 4, 2021, Lindell appeared for a televised interview on FlashPoint
                 and falsely stated:

                             They’ve threatened networks and stuff … to suppress what actually
                             happened in our country that was attacked from another country. …
                             They sent me a piece of this evidence. It was a cyber footprint from
                             inside the machines. … It shows the computer hacked in from, what
                             the IP address was, where it went to, what it was hacked in, what
                             was the IP, what was the computer ID. … You’re going to see what
                             really happened to our country. This attack by foreign countries,
                             starting with China, is 100% proof. … This is the evidence. This
                             is 100%. … It’s going to show that Donald Trump won 79,800,000
                             to 68,000,000 for Biden. I mean, this was an attack on our country.
                             … And the machines — all these machines that are set, they’re set
                             — it’s called the “rated race” — “weighted race” feature. … This is
                             an entity that came into our country through election fraud and it
                             came through the machines.237




237
   FlashPoint: Absolute Truth, You NEED to Hear This! with Mike Lindell, Doug Wead, and
Mario Murillo at 26:25-27:50, 35:20-40, 36:33-38:24, 41:27-31 (Tr. at 2:10, 2:25-3:1, 3:14-20,
11:11-20, 12:12-19, 13:5-7, 13:15-25), The Victory Channel (Feb. 4, 2021), available at,
https://www.youtube.com/watch?v=LxYh24Zd0Cs&amp%3Bfeature=youtu.be (Ex. 343).


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     (y) Beginning on February 5, 2021, Lindell repeatedly broadcast his self-produced
         “docu-movie” titled “ABSOLUTE PROOF: Exposing Election Fraud and the
         Theft of America by Enemies Foreign and Domestic,” which contained the
         following false statements about Dominion:

                    Mike Lindell: …these people – they brought me some – a piece of
                    evidence that 100 percent proved – it’s like a – a print of – of inside
                    the machine of a timestamp that showed another country – other
                    countries attacking us hacking into our election through these
                    machines, and it shows the votes flipped. … tonight you’re going to
                    see what they’re hiding. You’re going to see on this show, we have
                    – we’re going to have cyber forensic experts. We’re going to have
                    100 percent – you’re going to see all this evidence … these machines
                    were used to steal our election by other countries, including China.
                    … on election at 11:15 at night, the – the algorithms of these
                    machines broke. … Donald Trump got so many more millions of
                    votes that they didn’t expect, that they had they’re – they’re going
                    to have to recalibrate. … The biggest cyber attack ever. … the
                    biggest thing against humanity and our country is this attack through
                    these machines. … So what you’re going to watch during this show
                    is 100 percent proof that the big thing was the theft by these other
                    countries that came in to attack our country through these machines
                    that are made to steal elections. … These machines that were used
                    to – to hack into our election and – and by foreign countries,
                    including China. …

                    Phil Waldron: Then you got a – the machine level, which is kind
                    what you were talking about … the algorithms that are directly input
                    into the tabulators. And we have evidence of that in – in Ware
                    County, Georgia, that – you know, X amount of ballots went


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                 through, and they – they, basically, stole 13 percent of the vote from
                 President Trump and put that 13 percent of the vote into the category
                 for Former Vice President Biden, which made a 26 percent shift in
                 the vote. … And then if you look at the testing company, the only
                 company that has code – access to the code, and the testing for
                 Dominion is in Chongqing, China, it’s a communist Chinese party
                 company. The U.S. Government, the state governments, the county
                 governments, they don’t have access to Dominion code. … a
                 Chinese company that’s run by the – the CCP does have access to
                 the code. … lot of movements of votes directly – direct to access
                 to Pennsylvania, voting precincts, county tabulation centers,
                 Wisconsin, Michigan, Nevada, Arizona, Georgia – all of that
                 coming in directly from – from foreign countries; China being the
                 predominate one, and through – through Pakistani ISI proxies. …

                 Russell Ramsland: So what actually happened in this election, this
                 stolen election … You know, before we weren’t seeing very many
                 foreign servers come in and change votes. But in this election, of
                 course we saw thousands from all over the world. …

                 Mike Lindell: Had you seen – you seen thousands – all right.
                 You’ve seen all these – these hacks. Have you actually seen that
                 with your own eyes? …

                 Russell Ramsland: We have seen the data that is … representative
                 of that. … we thought there would be cheating through the actual
                 voting companies themselves; whether it’s them or someone else
                 manipulating them. And we thought that there would be cheating
                 from votes being injected from overseas. And that’s exactly what
                 we saw happen. … And we developed huge – tons of absolute proof
                 on this. … But it does exist. It’s out there. It’s unbelievable. It’s
                 massive. …

                 Mike Lindell: Right. For everybody out there, we’ve all heard this
                 Antrim County in Michigan, and in the show here we’ve – you
                 know, you’ve seen it, we’ve had – we’ve – this is – this is the reason
                 it was talked about so much, because this is a small county and it
                 was like 15,000-some people voted and it was 7,000 some votes
                 flipped. … Can I ask you this: So what you seen there is exactly
                 what you knew was going to happen and now – were you able to
                 look at other places what was different about Antrim County – now,
                 we’ve all heard was you were able to get into the – the forensics of
                 it and see all this, were you able – have you been able to do that in
                 any other places in the United States since then or – you know, since
                 this election ended on – in November?




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                 Russell Ramsland: Actually, on a limited basis we have been able
                 to go into other counties … both of them had not only confirmed,
                 they have confirmed that it’s even worse in Antrim. …

                 Mike Lindell: … Russell can’t disclose this, because what – every
                 time something pops up, it gets buried out there. …. You’re saying
                 right now you have two other places and what you’re seeing is even
                 worse than you could ever imagine? …

                 Russell Ramsland: Well, it’s – it’s – it’s just like Antrim, only it’s
                 worse in many ways. … Well, in – in Antrim we found ballot
                 rejection rates of 82 percent. 82 percent. …

                 Mike Lindell: And now – what you’re talking about there, this isn’t
                 – this isn’t one other way these machines can – that you can – that
                 you can cheat through the – or cheat there. But this does not count
                 what you’re talking about earlier, the cyber forensics where it goes
                 overseas to these servers that are all based over there, correct?

                 Russell Ramsland: That does not – that’s a different issue all
                 together.

                 Mike Lindell: Right. So both of them involved the machines
                 everybody, one we’ve talked about in the show is here. But the
                 cyber one you just heard from Russell, which he said earlier, this is
                 all the attacks by the other countries that hacked in, which we’re
                 going to show you that proof now, that Russell doesn’t even know,
                 that we have that’s going to show who did it, the time they did, the
                 computer they did it off of, everything. …

                 Mike Lindell: Okay. And you have seen this cyber – the cyber
                 forensics that show that. … [T]his wasn’t just election fraud, this
                 was a historical election fraud. This was coming from a elector –
                 from machines – from these machines. …

                 Matt DePerno: But if you look at certain townships, like Chestonia
                 Township – Joe Biden got 197 votes on November 3rd … [i]n reality
                 he only got 93. … So you could see Joe Biden on election night got
                 197, he got Donald Trump’s 197 votes.

                 Mike Lindell: … So let’s just do this precinct. 392, this is done
                 through the machines. And Donald Trump got 8. What? So here’s
                 the 392 to 8. But the real number was 198 to 392.

                 Matt DePerno: And if you see here, Echo Township, Joe Biden got
                 392 on the election … in reality, those Donald Trump’s votes.
                 Those are the 392.



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                 Mike Lindell: Right. They were just flipped. In order for that to be
                 off – and you do the conclusion, which I would right now, 100
                 percent, how could that be off? It would be something wrong with
                 what?

                 Matt DePerno: The machine.

                 Mike Lindell: The machines. The machines. And what we’re
                 showing here right now, what you’re going to see, all this – that
                 we’ve been talking about, this massive machine election fraud that
                 went on, were countries hacked into our election, a nationwide – this
                 is one little county in Northern Michigan, and these machines would
                 do it right down to the precinct. And so what I want to tell you y’all,
                 is this the perfect example – just so you know, right down to the
                 precinct level what went on with these machines. …

                 Matt DePerno: Well, you can look at like Kearney Township … Joe
                 Biden got 744 on election night. … Those were Donald Trump’s
                 votes. He actually recorded 16 on election night. …

                 Mike Lindell: this is – just a small county Northern Michigan, and
                 they ended up flipping – we had 15,718 votes.

                 Matt DePerno: 15,718. Votes.

                 Mike Lindell: Votes. And 7,060 were flipped from Biden – from
                 Trump to Biden; is that correct?

                 Matt DePerno: Yeah.

                 Mike Lindell: By machine – by machines, right?

                 Matt DePerno: By machine.

                 Mike Lindell: Probably done by the machines?

                 Matt DePerno: Absolutely by machines.

                 Mike Lindell: This little county in Northern Michigan, look at what
                 the difference was, it was a net of 5,250 votes; is that correct?

                 Matt DePerno: That’s a net for Donald Trump.

                 Mike Lindell: That’s a net for Donald Trump. There was 7,000 –
                 that’s where you get the 7,060 votes. …

                 Matt DePerno: And we then went in … with a team of forensic
                 scientists and data collection scientists, we – we captured the



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                 forensic images of the Dominion – Dominion voting system. …
                 But the people got us in contact –

                 Mike Lindell: Contact with – with forensic experts on these
                 particular machines?

                 Matt DePerno: That’s correct.

                 Mike Lindell: These guys were experts.

                 Matt DePerno: In our case, what we found through the forensic
                 study that was conducted, was that on November 4th, at 11:03 p.m.,
                 system files, adjudication files, and other source system files were
                 deleted from the Dominion system in Antrim County. We know that
                 for a fact. … They were removed. We don’t know who removed
                 them or how they gained access to remove them.

                 Mike Lindell: Hold on. We do know. You’ll see that later in the
                 show. …

                 Matt DePerno: But we do know that those files were removed on
                 November 4th at 11:03. … But what is actually, it’s information that
                 if revealed, would show that the CEO of Dominion Software, when
                 he testified in front of the Michigan Senate, this information would
                 show that he was not telling the truth about how the Dominion
                 system works. … And here’s what we concluded … when we
                 released the report. This is what it states: We conclude that the
                 Dominion Voting System is intentionally and purposely designed
                 with inherent errors to create systemic fraud and influence election
                 results. [W]hat they also found is that this machine in Antrim
                 County generates errors at the rate of 68 percent, based on ballots
                 that you put in the machine. …

                 Mike Lindell: This Dominion – these machines is the biggest fraud
                 in the election – they stole this. … Well everyone this is the moment
                 you’ve all been waiting for. What you’re going to see now is 100
                 percent proof that we had upon our country the biggest cyber attack
                 in history. And I’m going to bring out Mary Fanning to explain how
                 it all happened, and the – show you the 100 percent proof. …

                 Mary Fanning: But what we’re seeing here is – if you look at this
                 chart, that is where there were cyber security experts who began
                 collecting information on November 1st, and – so this was before,
                 during and after the election, that they were collecting
                 documentation – in fact, they collected terabytes of information that
                 document the election fraud the foreign intrusion into our election.
                 This was collected as – in 2996 counties in the United States. This
                 was collected in real time. All right. So if you go to the chart, what


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                 you will see is that the documentation of foreign interference in the
                 election. The first column – if you look at the chart – that shows
                 that on 11/5/2020 at 7:43 and 38 seconds, we had a foreign intrusion,
                 and it shows that the IP address, the Internet protocol address, that
                 is the number of that protocol address of the hacker that entered into
                 our election. The second column is the owner or source of that IP
                 address. That shows the China net in Beijing province entered the
                 election that shows an ID, that shows the unique address of a
                 computer. That shows the exact computer using that IP source that
                 entered into our election. The next is the target, that’s the IP target;
                 that’s the Internet protocol address of the target. All right. And the
                 next is, the target state. In this case it shows that it’s Michigan.
                 Where in Michigan? That’s the next column. It shows that it’s
                 Emmet County, Michigan. Then the ID target, that is the unique
                 address of another computer, in the United States, that that hacker
                 has gone into. And then it shows the method of intrusion. Now, on
                 some cases you’re going to see that they used credentials, that means
                 that they have fake credentials, because they were administrators
                 that had been placed on the Secretary of State’s computers. False
                 administrators. And other cases it shows that they broke through the
                 firewall. In some cases they did both. Now, in the next column it
                 shows whether it was successful. You will see a Y. That shows that
                 yes, it was successful. Now, oftentimes they’re not successful and
                 they have to go back and try for another intrusion, and then it shows
                 whether that’s, in fact, successful as well. Then in a final column,
                 what you’re seeing are votes changed. Now – and in this particular
                 case, when they went into Emmet County, Michigan, the votes that
                 were changed where they stole 3477 votes from Donald Trump.
                 That’s what you’re looking at. Now, as you go through this
                 document and you look at all the multiple intrusions into our
                 election, what – what you’ll notice that over 60 percent of these
                 intrusions come from China. So that is over 66 percent is what the
                 number is, over 66 percent of the intrusions into our election came
                 from China. …

                 Mike Lindell: Yeah. So what – so what you have here is – each one
                 of these is its own timestamp that is 100 percent proof, because you
                 have that – not only where it came from, you have – it’s basically
                 you have their identification, you have the – the – who they were
                 attacking, their identification, this is what everybody would want, if
                 you ever looked and did an audit or wanted to look into a computer
                 and look what went on in cyberspace, this is what you would be
                 looking for, correct?

                 Mary Fanning: This is forensic evidence of foreign footprints as
                 they entered our election and cyber warfare attack on our election,
                 and then it shows exactly what – you know, where did they come


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                 from, which computer exactly, exactly the timestamp, exactly which
                 computer they entered into, and – and what state, which county, the
                 – the ID – the unique ID of the computer that they entered into; and
                 then it shows how they entered using false credentials, or breaking
                 through the firewall or both. … Were they successful the first time,
                 the second time. And then it shows the votes that they stole from
                 Donald Trump. … This is proof-positive, this is documentation of a
                 cyber attack; but it also is documentation of the footprints of those
                 who entered our election. …

                 Mike Lindell: … This was a – the biggest attack in history. And
                 you have – and Mary you have – we have pages and pages, right?
                 Thousands of these pages of every – every county, right? Or of – or
                 every single attack?

                 Mary Fanning: There are thousands of pages of the documented
                 footprints – the foreign intrusion into our elections – we see this as
                 coming from China … cloud service, from China Unicon, from
                 uCloud, from China mobile T-tong, you know, this also came and –
                 from Iran as well. … This is a foreign intrusion. This is the theft of
                 our vote, but it also is documenting exactly the votes – the vote totals
                 that were stolen from Donald Trump. …

                 Mike Lindell: This is their – these are the real numbers that were
                 taken off and that were flipped. …

                 Mary Fanning: … This is a documentation, the proof positive, by
                 cyber experts from within this country that began documenting the
                 theft of our election. … They put together the full documentation of
                 every vote beginning on November 1st. So again, from before,
                 during and after the election, they documented the footprints of the
                 foreign intrusion into our election. That means that foreign
                 adversaries really, because this was an act of war to come in and
                 steal the election from the American people and decide who our
                 foreign adversaries were going to put in the White House to rule or
                 to be President of this country. … Well, you’re – the video – what
                 you are watching is the surveillance system. In fact, this is the very
                 surveillance system that was built by people inside this country,
                 within the cyber security battle space that built some of this
                 documentation – built some of these tools that were built to keep
                 this country safe. But what you’re watching is it – every line on that
                 drawing, all those moving lines, they represent the IP addresses of
                 what I just showed you on the chart. So – so when you understand
                 the hackers IP address and the IP address of target and the votes that
                 were stolen, every one of those lines that you’re watching move
                 across the chart. And showing whether they were successful and –
                 and how many votes they stole, that documents that. Every red line,


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                 as they turn red, as they finished stealing the vote, basically; the red
                 lines are all China. So what you’re seeing are the actual files being
                 received and sent. That – that’s a documentation of the real time
                 theft our elections. … So every – every line on the map, there’s a
                 corresponding line on the sheet. And the color and the line types
                 represent the severity of the attack. Now, red has been the most
                 severe attacks. Those lines are all coming out of China. Those are
                 the most severe attacks on our election system. It’s important to
                 understand that there are prismatic scoring algorithms that they
                 knew about, that entered the election and they steal the vote at the
                 transfer points. So at the point where the election – the vote is
                 leaving the Secretary of State’s office, and these machines, that is
                 the point at which the vote is stolen at the transfer points. That’s
                 what you’re watching, those packets moving, is – is that’s real time
                 documentation of the theft of the vote from inside this country. And
                 then the number is last column, those document exactly the numbers
                 of votes, it shows – in some of cases Antrim County where the vote
                 was stolen, and exactly the votes stolen at the exact timestamp of
                 when they were stolen. …

                 Mike Lindell: … what you’re seeing, every one of these lines – let’s
                 say we did take Antrim County, and we took that, we can pull out
                 the timestamps for that county, and we can show the lines – the
                 country that did it, we can show a line for every single hack or attack
                 that we had in this election?

                 Mary Fanning: That’s a right. … So what you’re watching is those
                 objects moving are the actual files that are being received and sent.

                 Mike Lindell: These are – these are the squares here that are – that
                 are being sent. So everybody out there, what you’re looking at – I
                 mean, this is the proof – so if any – if like Antrim County, that case
                 is still open, you just go here you go. Now you know who did it,
                 how many votes flipped, when they did it, what time they did it, the
                 computer it came from, the country that attacked us. Look at right
                 now, we got up on the screen, Georgia is just getting attacked. It
                 was just getting attacked up here at that moment in time. And I – I
                 suppose, you know, they didn’t know what they were doing, they
                 did the biggest attack – right here, look at everybody, Georgia and
                 Michigan, getting bombarded. …

                 Mary Fanning: Yes, because there is proof positive, there is
                 documentation of all the foreign interference into our election
                 showing exactly who stole the vote, how they stole the vote, from
                 which computers, accessed to our election, to which computers they
                 went into. So understand that cyber security experts that work for
                 this country, put all this in place before the election even started to


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                             make sure that they caught all of this information, so that foreign
                             adversaries were not deciding our elections. …

                             General McInerney: [A]nd we have not had one audit. This is the
                             closest thing to an audit that has been conducted in America on this
                             important election. …

                             Mike Lindell: And we’ve – we’ve just shown everybody in the
                             world 100 percent evidence that this was an attack on our country,
                             and is still under attack by China and other countries through the use
                             of these machines, used in our election.238

             (z) On February 10, 2021, Lindell gave a televised interview with Steve Bannon,
                 which was interspersed with Lindell’s “ABSOLUTE PROOF” “docu-movie”
                 and aired on OAN on February 11, 2021. During the interview, Lindell made
                 the following false statements about Dominion:

                             [T]he night of the election, 11:15 it broke the algorithms in the
                             machine … they didn’t have enough track left to do the steal because
                             he would have won anyway. … what you see is 100% fact. … Came
                             through the machines and there was a massive flip and you will
                             never have an election again if you use these machines. [T]hey’re
                             all liars. They’re lying … about it not going online. If you’re
                             Dominion… that’s been proven 10 times over. … I’m 100% that we
                             have all the proof. … Venezuela … they did it through the use of
                             these machines. … But what they did, they filled up these fobs and
                             they went down and they did a dump. They did … 1,000 dump,
                             boom. Just put into the machines you got you do that online … it
                             was just another way you can cheat with this machine. 770 or
                             something like 7000 votes got flipped. … forensic footprints of the
                             machine, everything that happened that night, here’s an interesting
                             fact, though, that flip of 7,000 votes. … [O]ne lie after another,
                             connection to the internet … Here you have evidence. … These

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   Mike Lindell, Brannon Howse And Mary Fanning Present: Absolute Proof: Exposing
Election Fraud and The Theft of America by Enemies Foreign and Domestic, World View
Weekend (Feb. 5, 2021), available at, https://www.worldviewweekend.com/tv/video/mike-
lindell-brannon-howse-and-mary-fanning-present-absolute-proof-exposing-election-fraud;
https://www.worldviewweekend.com/absolute-proof (Ex. 316); Michael J Lindell, Facebook
(Feb. 5, 2021), available at, https://www.facebook.com/realMikeLindell/posts/119253685453493
6 (Ex. 317); Absolute Proof – Mike Lindell Election Documentary (FULL) at 1:15-13:00, 15:00-
17:44, 31:39-41: 48, 58:46-58:56, 1:10:00-1:23:03, 1:30:55-1:31:02, 1:36:04-1:49:18, 1:52:09-
19, 1:53:52-1:54:09 (Tr. at 3:3-13:25, 15:20-17:23, 31:16-41:24, 63:7-10, 78:10-94:3, 102:21-24,
108:12-120:12, 122:19-21, 124:5-10), Rumble (Feb. 5, 2021), previously available at,
https://rumble.com/vdlbl7-absolute-proof-mike-lindell-election-documentary-full.html (Ex. 319);
ABSOLUTE PROOF (One America News Network Feb. 5-8, 2021); ABSOLUTE PROOF:
Interview Special with Steve Bannon, One America News Network (Feb. 11, 2021) (Ex. 347).


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                             machines would have to be online, absolutely 100%. … They
                             showed there were 7,300 votes flipped. … These machines getting
                             found out, it’s an attack on our country. … We have the absolute
                             proof and the absolute truth will come out. … They suppressed the
                             machine vote or the machine so much, it’s just coming out now …
                             I have 100% proof. … It was the biggest crime against humanity
                             and the world.239

              (aa) On February 19, 2021, Lindell appeared on the St. George News radio show,
                   The Kate Dalley Show, and falsely stated:

                             What happened to our country with this attack by China and other
                             countries through these Dominion machines. … First miracle is
                             these machines are rigged. … Broke the algorithms on election
                             night at 11:15. That’s why you had all these weird anomalies, these
                             weird deviations. … These were not mail order votes, mail in votes
                             were counted in the morning of the 3rd. … These machines have
                             been around, were started in Venezuela in the early 2000’s and they
                             took that country within 2 years, they have a weighted race feature
                             on these machines. … 7,000 votes got flipped.240

       166.    Lindell’s statements are reasonably understood to be statements of fact about

Dominion, and were understood by people who saw, heard, and read them to be statements of fact

about Dominion.

       167.    Lindell’s statements are false. Dominion’s systems are certified under standards

promulgated by the EAC, reviewed and tested by independent testing laboratories accredited by

the EAC, and were designed to be auditable and include a paper ballot backup to verify results.

Because of this backup, independent audits and hand recounts of paper ballots have conclusively

and repeatedly disproven the false claim that Dominion machines were programmed with an



239
    ABSOLUTE PROOF: Interview Special with Steve Bannon, at 23:14-28, 27:00-27:09, 26:32,
42:14-54, 1:13:04-18, 1:37:58-38:10, 1:48:33-42, 2:00:38-49, 2:05:48-50, 2:23:35-38, 2:23:56-
24:07, 2:43:40-42, 2:44:14-18 (Tr. at 20:22-21:2, 24:4-6, 26:3-15, 49:24-50:3, 74:3-7, 83:23-
84:1, 94:16-18, 98:4-5, 99:11, 111:19-20, 111:24-112:3, 128:7-8), One America News Network
(Feb. 11, 2021) (Ex. 347).
240
    The Kate Dalley Show at 1:43-49, 5:21- 52, 6:47-55, 7:48-53, 8:41-43, 9:17-24, 24:38-39 (Tr.
at 3:11-13, 6:12-17, 6:21-22, 7:19-22, 8:16-17, 9:11, 9:24-25, 19:21), St. George News Radio
(Feb. 19, 2021) (Ex. 348).


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algorithm—or were hacked—to weight votes, shift votes, or otherwise manipulate vote counts to

steal the 2020 election.

       168.    Lindell had no applicable privilege or legal authorization to make these false and

defamatory statements, or if he did, he abused it.

       169.    Dominion is entitled to punitive damages under D.C. law because, as set forth in

detail above, Lindell’s defamatory statements were accompanied with ill will, recklessness,

wantonness, willful disregard of Dominion’s rights, and other circumstances tending to aggravate

the injury, including but not limited to Lindell repeating his defamatory falsehoods even though

he knew Dominion employees were receiving death threats because of them.

       170.    Lindell’s statements are defamatory and defamatory per se. Lindell’s statements

have exposed Dominion to the most extreme hatred and contempt. Lindell himself called it the

“biggest crime ever committed in election history against our country and the world.”241 He has

directly accused Dominion of fraud, election rigging, and conspiracy, which are serious crimes.

For Dominion—whose business is producing and providing voting systems for elections—there

are no accusations that could do more to damage Dominion’s business or to impugn Dominion’s

integrity, ethics, honesty, and financial integrity. Lindell’s statements were calculated to—and did

in fact—provoke outrage and cause Dominion enormous harm.

       171.    Acting in concert with allies and media outlets that were determined to curry favor

with one of their biggest sponsors and to promote a false preconceived narrative about the 2020

election, Lindell launched a defamatory marketing campaign about Dominion that reached

millions of people and caused enormous harm to Dominion. As a direct, foreseeable, and



241
    FlashPoint: Stand Firm! Mike Lindell, Hank Kunneman and Mario Murillo at 10:50-56 (Tr.
at 11:5-6), The Victory Channel (Dec. 23, 2020), available at,
https://www.youtube.com/watch?v=kPhpPLknmBw (Ex. 236).


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intentional result of that defamatory marketing campaign, Dominion has suffered the following

single and indivisible injuries: Dominion employees have been stalked, have been harassed, and

have received death threats; Dominion has been forced to make an expenditure of money to remedy

the defamation and to protect the lives of its employees; Dominion has lost profits; and Dominion’s

reputation has been irreparably damaged.

       172.     In view of the foregoing, Dominion is entitled to actual, presumed, punitive, and

other damages in an amount to be specifically determined at trial.

                     COUNT TWO – DECEPTIVE TRADE PRACTICES
                               (Against All Defendants)

       173.     Dominion repeats and re-alleges each of the foregoing paragraphs as if set forth

fully herein.

       174.     Lindell’s false and defamatory statements, as described in detail above, constitute

deceptive trade practices in violation of Minnesota law, M.S.A. Sec. 325D.44(8), as they disparage

Dominion’s goods and services by false and misleading representations of fact.

       175.     As alleged in detail above, despite knowing that his defamatory falsehoods about

Dominion were deceptive, Lindell willfully made them in the course of his business as the CEO

of MyPillow because he and his company could derive—and did in fact derive—financial benefits

from making those false statements, namely, sales of MyPillow products that occurred because

Lindell was exploiting and disseminating defamatory falsehoods about Dominion.

       176.     Lindell’s statements have irreparably damaged Dominion and will, unless enjoined

by this Court, further impair the value of Dominion’s name, reputation, and goodwill.

       177.     Dominion is entitled to permanent injunctive relief requiring the removal of all the

Defendants’ statements that are determined to be false and defamatory and enjoining the




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Defendants from repeating such statements or engaging in any further deceptive trade practices

relating to Dominion.

       178.    Dominion is entitled to recover from Defendants its costs of litigation, including

reasonable attorneys’ fees, pursuant to M.S.A. Sec. 325D.45 Subd. 2.

                                    PRAYER FOR RELIEF

       WHEREFORE, Dominion respectfully requests that the Court enter an award of not less

than $1,303,470,000 and judgment in its favor, and against all Defendants jointly and severally, as

follows:

              (a) awarding Dominion compensatory damages of not less than $651,735,000;

              (b) awarding Dominion punitive damages of not less than $651,735,000;

              (c) awarding Dominion all expenses and costs, including attorneys’ fees;

              (d) granting a narrowly tailored permanent injunction requiring the removal of all
                  the Defendants’ statements that are determined to be false and defamatory and
                  enjoining the Defendants from repeating such statements or engaging in any
                  further deceptive trade practices relating to Dominion; and

              (e) such other and further relief as the Court deems appropriate.

                                        JURY DEMAND

       Plaintiffs demand a trial by jury on all claims and issues so triable.

Date: February 22, 2021
                                               /s/ Thomas A. Clare, P.C.
                                              Thomas A. Clare, P.C. (D.C. Bar No. 461964)
                                              Megan L. Meier (D.C. Bar No. 985553)
                                              Dustin A. Pusch (D.C. Bar No. 1015069)
                                              CLARE LOCKE LLP
                                              10 Prince Street
                                              Alexandria, VA 22314
                                              (202) 628-7400
                                              tom@clarelocke.com
                                              megan@clarelocke.com
                                              dustin@clarelocke.com
                                              Attorneys for Plaintiffs




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